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                                 Exhibit C
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NYSCEF DOC.Case
            NO. 18-15691-CMG
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU
         ________________________________________________
                                                      :
         MICHAEL ENGELBERG, derivatively on Behalf of                           Index No. 606919/2014
         THE AMERICAN CENTER FOR CIVIL JUSTICE, INC., :

                                       Plaintiff,                       :

                             -v-                                        :       VERIFIED ANSWER
                                                                                AND COUNTERCLAIMS
         ELIEZER PERR, JEDIDIAH PERR, AND                               :
         MILTON POLLACK,
                                                                        :
                                      Defendants.
                                                                        :
         THE AMERICAN CENTER FOR CIVIL JUSTICE, INC.
                                                         :
                                Nominal Defendant.
         ________________________________________________:


                Defendants Eliezer Perr, Jedidiah Perr, Milton Pollack (collectively, “Defendants”),

         through their undersigned counsel, hereby answer the Complaint filed by Plaintiff Michael

         Engelberg, M.D. (“Plaintiff” or “Dr. Engelberg”), assert Counterclaims and allege as follows:

                                                      ANSWER

                                             NATURE OF THE CASE

                Defendants deny the fictional, malicious and defamatory nature of the case propounded by

         Plaintiff, except admit that the American Center for Civil Justice, Inc. (the “ACCJ”) was founded

         in 1996. Defendants aver that the true nature of the case is as follows:

                Relying upon willful and deliberate misrepresentations, Plaintiff attempts to paint a picture

         of the ACCJ and the activities of the individual defendants that Plaintiff knows could not be farther

         from the truth. This action is Plaintiff’s last ditch, desperate attempt to wrest control over millions

         of charity dollars so that he can divert that money to himself as “executive compensation,” as he




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    has done for over a decade while running another organization, the New York Center for Civil

    Justice, Tolerance & Values, Inc. (“NYCCJ”), all by himself with absolutely no board oversight.

    Indeed, for more than a decade, Plaintiff improperly paid himself more than $2 million from the

    charity funds he controlled. Moreover, as shown below, the charity funds that Plaintiff’s NYCCJ

    controlled and from which he paid himself were obtained when Plaintiff improperly diverted $4.3

    million from the ACCJ.

           After years of improperly paying himself excessive salaries, Plaintiff realized that the well

    of charity funds at the NYCCJ would soon run dry. And so, for more than two years, Plaintiff has

    tried to get his hands on the charity funds of the ACCJ and American Center for Civil Justice

    Religious Liberty & Tolerance Inc. (the “New Jersey Center”), the organization that the ACCJ had

    contracted with to obtain collections on behalf of judgment claimants.

           To obtain control of the ACCJ, Plaintiff brings this action which relies on the scurrilous

    assertion that the last 20 years of corporate activity of the ACCJ are fraudulent and should be

    ignored, and that the last 20 years of the activities of the ACCJ’s board of directors (the “Board”),

    which Plaintiff had been a member of at various times, are invalid. Instead, according to

    Engelberg, corporate control of the ACCJ is maintained by three “members,” Engelberg, Eliezer

    Perr and Milton Pollack, notwithstanding that since at least April 1999, the ACCJ has not acted as

    a membership organization and filed numerous documents, passed bylaws and issued board

    minutes confirming that the ACCJ was a non-membership corporation. Of course, the Complaint

    then alleges that the membership of Perr and Pollack should be revoked leaving Engelberg in sole

    control of the ACCJ and, more importantly, its charity funds – the real motivation for this lawsuit.

    Although Engelberg provided sworn testimony in another action that he was an unpaid “volunteer”

    of the ACCJ for the last 13 years, once in control, he would be free to pay himself excessive




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    salaries and pension benefits without Board approval or oversight as he has done for the last 13

    years as the head of the NYCCJ as detailed below.

                  A BRIEF SUMMARY OF THE ACCJ’S CORPORATE HISTORY
                              AND ONGOING ACTIVITIES

           The ACCJ was founded as a 501(c)(3) charity in 1996. Plaintiff was involved in helping

    found the ACCJ, joining with the ACCJ’s founder, Eliezer Perr, and others after having been

    unable or unwilling to sustain a medical practice. It was Eliezer Perr who had extensive experience

    in international and human rights, with deep contacts internationally in the law enforcement and

    intelligence communities. Plaintiff, on the other hand, brought with him no such background or

    experience.

           Although the original Certificate of Incorporation was silent as to the corporate structure,

    in April 1999, the ACCJ filed an amendment to the original Certificate of Incorporation confirming

    that the ACCJ was a non-membership corporation; this was corroborated and reinforced by another

    amendment in 2005. Corporate bylaws from 2007 and 2013 further confirm the ACCJ’s non-

    membership status. This corporate structure went undisputed for many years. No one affiliated

    with the charity, including Plaintiff, challenged that structure. The ACCJ has never operated as a

    membership organization. Moreover, Plaintiff’s objections to the constituency of the Board are

    contradicted by his attendance at board meetings, his signature on board minutes, statements he

    made under oath and his knowledge of board action for years without objection.

           And for decades, the ACCJ has been advocating, very successfully, for victims of state-

    sponsored terrorism. This has been accomplished under the supervision of a dedicated board of

    directors, working with a small number of volunteers and salaried staff. The ACCJ, working in

    conjunction with attorneys it retained, has secured judgments totaling hundreds of millions of




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    dollars on behalf of claimants who have signed agreements with the ACCJ (the “Claimant and

    Center Agreements”).

           The ACCJ has also been involved in other matters on behalf of terror victims. For example,

    the ACCJ has been funding a federal lawsuit in Washington, DC on behalf of over 150 victims

    and family members of the November 2009 terror attack at Ft. Hood, Texas. ACCJ counsel, Neal

    Sher, represents the victims in that suit.      Moreover, Sher was instrumental in securing

    Congressional legislation that led to the awarding of Purple Hearts and Defense of Freedom medals

    to victims. In addition to being recognized for their valor and sacrifices, awarding the Purple

    Hearts provided much needed financial and medical benefits to the recipients.

                           The ACCJ’s Charitable Donations Were Fully In
                               Accord With Its Mission And The Law

           Along with its advocacy and outreach on behalf of victims of terrorism, the ACCJ has since

    the first intake of monies contributed grants to educational institutions and other charities in

    furtherance of the ACCJ’s mission. Plaintiff has been involved in the making of such grants and

    did not object to them until he realized that the money he has been using to pay himself excessive

    compensation at the NYCCJ would be running dry and he needed to obtain financial control over

    the ACCJ or New Jersey Center to continue his excessive salary.                 As noted in the

    contemporaneously-drafted minutes of an August 23, 2010 ACCJ Board of Directors meeting:

           Dr. Engelberg countered that insomuch as Jewish schools have been targeted
           throughout the world, and Jewish children are a constant target of Muslim terrorism
           as well as other forms violence and persecution, grants be provided to schools that
           are open to the concept of security, and who are willing to implement some form
           of security on their grounds, beginning with schools in the Jewish centers of NYC
           ....

    New York law expressly recognizes the appropriateness of such donations by the ACCJ. The

    claims in Plaintiff’s Complaint regarding charitable donations are not only pure hypocrisy, but




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    disingenuous and revisionist history. Indeed, the NYCCJ, while spending the ACCJ’s money from

    the Stethem claims, donated to similar charities as well.

                        The Vital Collection Work Of The New Jersey Center

           Similarly, Plaintiff’s bogus claim that the New Jersey Center was improperly paid for its

    collections work on behalf of judgment claimants is a revisionist charade. Pursuant to a contract

    between the ACCJ and the New Jersey Center entered into on April 12, 2007, and further amended

    and ratified in 2013 (the “New Jersey Contract”), and approved in both instances by the ACCJ’s

    Board, the New Jersey Center undertook the responsibility of effectuating collections for judgment

    claimants on behalf of the ACCJ. Prior to entering into the New Jersey Contract, the ACCJ had

    undertaken virtually no steps to locate and seize Iranian assets. That work has now progressed on

    several fronts, including litigation in the U.S., the United Kingdom and Canada, and successful

    negotiations with the federal government regarding the satisfaction of the Iranian judgments.

           Plaintiff has acknowledged that he knew of the role of the New Jersey Center; it was not a

    secret. And he was in possession of the New Jersey Center’s formation documents as early as

    December 2008, and, indeed, his NYCCJ donated thousands of dollars to the New Jersey Center.

    The New Jersey Center continues to this day to fulfill its obligations under the contract.

           The allegations against Jed Perr and the New Jersey Center are refuted by facts of record,

    including Plaintiff’s past admissions and his history of working with them on the very matters of

    which he now complains.

                Another Blatant Misrepresentation: The American Recovery Center

           Plaintiff disingenuously makes claims about the incorporation of the American Recovery

    Center (“ARC”). However, Plaintiff was fully aware of ARC’s intended purpose, which was not

    to benefit Jed Perr personally, but was to be owned by the New Jersey Center and used as a vehicle

    in collections work for non-ACCJ claimants. Plaintiff was involved in the discussions concerning


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    whether the formation of a separate entity was needed for those purposes. Plaintiff is also fully

    aware that ARC never came to fruition and its status as an active company was revoked by New

    Jersey.

        INDISPUTABLE FACTS SHOW THAT IT WAS PLAINTIFF WHO ENRICHED
           HIMSELF WITH MILLIONS OF DOLLARS OF CHARITABLE FUNDS

                             Plaintiff Enriched Himself Through the ACCJ

              From 2001-2003, Plaintiff paid himself over $1.2 million. During the same period, no

    other ACCJ officer or director, including defendants Eliezer Perr and Milton Pollack, received any

    compensation. Moreover, Plaintiff also enjoyed the use of a leased luxury car paid for by the

    ACCJ, as well as other perks.

                 Plaintiff’s Improper Conduct in Connection With The Stethem Funds

              In or around July 1998, the Raoul Wallenberg Center For Civil Justice, Inc., the

    predecessor charity to the ACCJ, entered into an agreement with the family of Robert Dean

    Stethem, who was kidnapped and killed by terrorists, pursuant to which the ACCJ undertook to

    support litigation against the perpetrators of the crime. DLA Piper was retained to prosecute the

    case. The ACCJ covered all expenses and paid significant legal fees.

              Pursuant to the agreement, the Stethems pledged to give the ACCJ 20% of any recovery so

    that the ACCJ could continue its work. The litigation was indeed successful and the Stethems

    collected over $21,000,000.      From that recovery, the ACCJ was entitled to approximately

    $4,300,000. Plaintiff arranged for those funds to instead be diverted to his NYCCJ.

              In attempting to establish the legitimacy of depositing the Stethem funds in his NYCCJ,

    Plaintiff has pointed to a series of “Acknowledgment[s] of Charitable Contributions” provided by

    the NYCCJ to Stethem family members. This obviously does not legitimize the diversion. Each

    such Acknowledgement states that “No goods or services are provided in return for this



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    contribution.” That representation was blatantly false and Plaintiff knew it. He was well aware

    that the fees owed to the ACCJ and which he directed to his NYCCJ, were the direct result of

    services provided by the ACCJ. Plaintiff’s actions are even more egregious considering that the

    Powers of Attorney for the Stethem family members were in his name (obtained while he was an

    employee of the ACCJ in conjunction with the Claimant and Center Agreements).

                  Plaintiff’s Conduct In Connection With The ACCJ Pension Fund

           In or around 2001, the ACCJ authorized the creation of the American Center for Civil

    Justice Defined Benefit Pension Plan. Without informing the Board, Plaintiff then established the

    pension plan with himself as the sole beneficiary, made himself the manager of the pension plan,

    and hired his wife’s company to manage its investments. Between 2001 and 2003, Plaintiff wrote

    ACCJ checks totaling over $340,000 to the pension plan. For more than a decade he filed IRS

    Form 5500 without the permission or knowledge of the Board. At this and all other relevant times,

    he remained the pension plan’s sole beneficiary. In or around 2011, while a Director of the ACCJ

    and without the knowledge of the rest of the Board, Plaintiff unilaterally directed the dissolution

    of the pension plan and subsequent rollover of over $900,000 to his individual retirement account.

                   Plaintiff Further Enriched Himself Through His Stewardship of
                         the NYCCJ, Which He Privatized For Personal Gain

           Having received more than four million dollars of ACCJ funds (which left the ACCJ with

    virtually no assets), Plaintiff illegally used most of those funds to enrich himself. It was not until

    recently that it became known that the primary activity of the NYCCJ was to line Plaintiff’s

    pockets. The NYCCJ Form 990s reveal that after the infusion of the Stethem funds into the

    NYCCJ’s account, Plaintiff’s compensation from the NYCCJ was almost $1.6 million from 2003-

    2013. Additionally, Plaintiff established a pension fund from which he received more than




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    $400,000. Thus, of the approximately $4,300,000 in Stethem feeswhich has been the primary

    source of NYCCJ fundingapproximately half of that went directly to Plaintiff.

           Plaintiff’s filings with the IRS reveal that the largest single expenditure of the NYCCJ has

    been Plaintiff’s compensation. Conspicuous by its absence is the reporting of any significant

    efforts to support or advocate on behalf of terror victims.

           Indeed, his tax filings reveal no programmatic activity in furtherance of any mission. The

    NYCCJ also made charitable gifts, which even taken as a whole were significantly smaller than

    the compensation Plaintiff paid himself. If he was so deeply committed to promoting the interests

    of victims of terror, he would have devoted much of his available resources to fighting for their

    interests. He did not. Instead, those resources went directly to his pockets. Plaintiff has no

    business being reinstated at the ACCJ, or indeed, running any charity at all.

           Moreover, individuals he had identified as NYCCJ board members confronted him with

    serious accusations, including that the charity was governed solely by him; that no board of

    directors meetings had ever been called; and that drafts of the required IRS Form 990s had not

    been circulated to the board before filing. It was demanded that Plaintiff explain how he could

    possibly justify taking large salaries without obtaining board approval. Plaintiff did not, because

    he could not, provide any explanation for his unilateral and improper actions.

           Recognizing that the NYCCJ board members were challenging Plaintiff’s activities and

    realizing that the assets of the NYCCJ were almost exhausted, the allegations of the Complaint are

    intentional distortions calculated to seize control over the ACCJ’s charity funds. Ironically, the

    picture Plaintiff attempts to paint of Defendants allegedly enriching themselves through

    misappropriation and self-dealing is a self-portrait. Plaintiff’s pattern of behavior over the years




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    establishes that he is singularly unfit to serve on any board, and is not someone who should be

    entrusted with running a charitable institution.

             1.    Defendants deny the allegations set forth in Paragraph 1 of the Complaint, except

    deny knowledge or information sufficient to form a belief as to whether Plaintiff resides at 75

    Woodmere Blvd., South Woodmere, New York 11598.

             2.    Defendants deny the allegations set forth in Paragraph 2 of the Complaint, except

    admit that the ACCJ is a not-for-profit organization, organized under the laws of the State of New

    York, with its principal place of business at 4912 14th Avenue, Brooklyn, NY 11219, and

    recognized by the IRS as a tax exempt 501(c)(3) organization.

             3.    Defendants deny the allegations set forth in Paragraph 3 of the Complaint, except

    admit that Eliezer Perr is an individual residing at 63 Hedge Drive, Lakewood, New Jersey 08701.

             4.    Defendants deny the allegations set forth in Paragraph 4 of the Complaint, except

    admit that Jed Perr is an individual residing at 23 Fern Street, Lakewood, New Jersey 08701 and

    the son of Eliezer Perr.

             5.    Defendants admit the allegations set forth in Paragraph 5 of the Complaint.

             6.    Paragraph 6 of the Complaint does not call for an admission or denial and speaks

    for itself.

             7.    Defendants deny the allegations set forth in Paragraph 7 of the Complaint, except

    admit that the New Jersey Center is a not-for-profit corporation incorporated in the State of New

    Jersey with its principal place of business at 422 Martin Luther King Drive, Lakewood, New Jersey

    08701, and state that Jed Perr is an officer and one of five directors of the New Jersey Center.

             8.    Defendants deny the allegations set forth in Paragraph 8 of the Complaint.

             9.    Defendants deny the allegations set forth in Paragraph 9 of the Complaint.




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           10.      Defendants deny the allegations set forth in Paragraph 10 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           11.      Defendants deny the allegations set forth in Paragraph 11 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           12.      Defendants deny knowledge or information sufficient to form a belief as to the truth

    of the allegations set forth in Paragraph 12 of the Complaint, except neither admit nor deny any

    allegation of law therein.

           13.      Defendants deny the allegations set forth in Paragraph 13 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           14.      Defendants deny the allegations set forth in Paragraph 14 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           15.      Defendants deny the allegations set forth in Paragraph 15 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           16.      Defendants deny the allegations set forth in Paragraph 16 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           17.      Defendants deny the allegations set forth in Paragraph 17 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           18.      Defendants deny the allegations set forth in Paragraph 18 of the Complaint.

           19.      Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 19 of the Complaint, except admit that Eliezer Perr

    and Plaintiff had a long-standing, close relationship and that Plaintiff sought Eliezer Perr’s advice

    and guidance.

           20.      Defendants admit the allegations set forth in Paragraph 20 of the Complaint.




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           21.    Defendants admit the allegations set forth in Paragraph 21 of the Complaint.

           22.    Defendants deny the allegations set forth in Paragraph 22 of the Complaint.

           23.    Defendants deny the allegations set forth in Paragraph 23 of the Complaint, and

    state that the ACCJ assisted and supported Stephen Flatow and advocated for the Flatow

    Amendment.

           24.    Defendants deny the allegations set forth in Paragraph 24 of the Complaint.

           25.    Defendants admit the allegations set forth in Paragraph 25 of the Complaint.

           26.    Defendants deny the allegations set forth in Paragraph 26 of the Complaint, and

    state that the express purposes in the original and amendment to the Certificate of Incorporation

    of the ACCJ are:

           To create, form and establish a civil rights organization for the benefit of victims
           of terrorism in the United States and abroad; to promote, foster, increase and
           advance the civil rights of victims of terrorism; to maintain a network of lawyers,
           researchers, journalists, investigators and government officials to further the
           purposes of this corporation; to identify and document terrorist acts committed
           and/or sponsored by individuals, groups or states; to identify sources, resources and
           assets of the perpetrators and sponsors of terrorism to advise victims of their rights
           and methods of addressing compensation for acts of terror; to advocate the passage
           of legislation that will make it a crime to sponsor, aid and abet terrorists and to
           promote legislation that will simplify and speed the collection of punitive damages;
           to encourage interest, awareness and activism in the American and world political
           arena with reference to the plight of victims of terrorism throughout the world; to
           initiate and promote civic and political programs beneficial to the victimized people
           of the world; to hold, conduct and organize meetings, discussions and forums to
           consider community opinions on issues affecting the health and the economic,
           educational and social welfare of victims of terrorism throughout the world; to aid,
           assist, cooperate, co-sponsor and otherwise engage in concerted action with private
           and governmental agencies and organizations on all programs designed, calculated
           and dedicated to the improvement of life for the aforesaid people; to solicit, collect
           and otherwise raise money for charitable, eleemosynary and benevolent purposes
           and to expend such monies for such purposes and generally to advance the
           accountability to the victims of terrorists and those who sponsor, aid and abet acts
           of terror throughout the world.

                  In furtherance of its corporate purposes, the corporation shall have all the
           general powers enumerated in Section 202 of the Not-For-Profit Corporation Law,



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           together with the power to solicit grants and contributions for the corporate
           purposes.

                  Nothing herein shall authorize this corporation, directly or indirectly, to
           engage in or include among its purposes, any of the activities mentioned in the Not-
           For-Profit Corporation Law, Section 404(b)-(v).

    Certification of Incorporation, dated November 21, 1996.

                   Said corporation is organized for charitable, religious and educational
           purposes, including for such purposes, the making of distributions to such
           organizations and those that are committed to perpetuate the causes of civil
           liberties, civil justice, religious freedom and tolerance as guaranteed by the United
           States Constitution, and those that qualify as exempt organizations under section
           501(c)(3) of the Internal Revenue Code, or the corresponding section of any future
           federal tax code.

    Certificate of Amendment of the Certificate of Incorporation, dated January 20, 2005.

           27.     Defendants admit the allegations set forth in Paragraph 27 of the Complaint.

           28.     Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 28 of the Complaint.

           29.     Defendants deny the allegations set forth in Paragraph 29 of the Complaint, except

    admit that to accomplish one of its purposes, and on the premise that lawsuits are an effective

    deterrent to international terrorists and their financial backers, the ACCJ entered into written

    agreements with victims of terrorism or the estate representatives of murdered victims, under the

    terms of which, the ACCJ would advance funds for litigation and retain law firms and individual

    lawyers to prosecute the claims on behalf of victims of terrorism.

           30.     Defendants deny the allegations set forth in Paragraph 30 of the Complaint, and

    state that the powers of attorney were signed by Plaintiff as a representative of the ACCJ.

           31.     Defendants deny the allegations set forth in Paragraph 31 of the Complaint and

    refer to the particular agreements for the complete terms thereof.




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           32.     Defendants deny the allegations set forth in Paragraph 32 of the Complaint and

    refer to the particular agreements for the complete terms thereof.

           33.     Defendants deny the allegations set forth in Paragraph 33 of the Complaint.

           34.     Defendants deny the allegations set forth in Paragraph 34 of the Complaint.

           35.     Defendants deny the allegations set forth in Paragraph 35 of the Complaint, except

    admit that certain fee agreements were entered into by the ACCJ on behalf of certain plaintiffs

    with various law firms in connection with lawsuits to be commenced against those responsible for

    certain terrorist attacks, and the terms of the fee agreements varied, and Plaintiff was one of the

    people involved in negotiating fee agreements.

           36.     Defendants admit the allegations set forth in Paragraph 36 of the Complaint.

           37.     Defendants admit the allegations set forth in Paragraph 37 of the Complaint.

           38.     Defendants deny the allegations set forth in Paragraph 38 of the Complaint, except

    admit that after a long and protracted litigation, in 2006 the D.C. court awarded the 67 claimants

    a total of $254,431,903 in compensatory damages, and in 2009, an additional $36,658,063 was

    awarded as well as $300,000,000 in punitive damages for a total judgment of $591,089,956, and

    state that, in conjunction with the Claimant and Center Agreements, the 67 claimants each gave

    Plaintiff a power of attorney as a representative of the ACCJ.

           39.     Defendants deny the allegations set forth in Paragraph 39 of the Complaint, except

    admit that Paul Blais, a permanent member of an aircrew in the United States Air Force and Curtis

    and Maria Taylor, his stepfather and biological mother, filed this case in 2002; Mr. Blais’ aircrew

    had been sent to Saudi Arabia as part of a peacetime deployment of U.S. troops tasked with

    ensuring compliance with United Nations Security Council resolutions; he was one of the hundreds

    seriously injured in the Khobar Towers attack; after the explosion, Mr. Blais was rescued from the




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    rubble, barely alive and unconscious; he was treated in the hospital for three or four days before

    being identified; he suffered serious brain trauma, a deprivation of oxygen, extensive scalp

    lacerations and was in a coma for approximately five weeks, in total; in total, Mr. Blais spent four

    months in hospital and received extensive rehabilitation for another six months, and he continues

    to suffer from depression, PTSD and survivor’s guilt; and state that, in conjunction with the

    Claimant and Center Agreements, Paul Blais, and Curtis and Maria Taylor each gave Plaintiff a

    power of attorney as a representative of the ACCJ.

           40.     Defendants admit the allegations set forth in Paragraph 40 of the Complaint.

           41.     Defendants deny the allegations set forth in Paragraph 41 of the Complaint, except

    admit that the Holland case was filed in 2001 by Donna Marie Holland, the widow, and sons,

    James Holland and Chad Holland, of late Officer Robert Holland, a U.S. service member who

    served in the Navy; the attack by Hezbollah was the most deadly terrorist attack against American

    citizens prior to September 11, 2011; the October 23, 1983 Marine barracks bombing was in Beirut,

    Lebanon, during which 241 American servicemen acting as part of a multinational U.S. peace

    keeping force were murdered in their sleep by a suicide bomber; Officer Holland was killed

    instantly, however, given the nature of the blast, his family was forced to wait weeks for his body

    to be identified; the death of Officer Holland had a profound emotional impact on his family; and

    state that, in conjunction with the Claimant and Center Agreements, the Estate of Robert Holland

    and Donna Marie Holland each gave Plaintiff a power of attorney as a representative of the ACCJ.

           42.     Defendants admit the allegations set forth in Paragraph 42 of the Complaint.

           43.     Defendants deny the allegations set forth in Paragraph 43 of the Complaint, except

    admit that Plaintiffs Diana Campuzano, Avi Elishis and Gregg Salzman filed this case in 2000; the

    claimants were at the crowded Ben Yehuda pedestrian street mall in Jerusalem, Israel on the




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    afternoon of September 4, 1997 when Hamas carried out a triple suicide bombing; the bombs were

    packed with nails, screws, pieces of glass and chemical poisons, designed to cause maximum pain;

    the detonated bombs killed five people and seriously wounded nearly 200 others, including the

    plaintiffs; and state that, in conjunction with the Claimant and Center Agreements, Diana

    Campuzano, Avi Elishis and Gregg Salzman each gave Plaintiff a power of attorney as a

    representative of the ACCJ.

           44.     Defendants admit the allegations set forth in Paragraph 44 of the Complaint.

           45.     Defendants admit the allegations set forth in Paragraph 45 of the Complaint.

           46.     Defendants admit the allegations set forth in Paragraph 46 of the Complaint.

           47.     Defendants admit the allegations set forth in Paragraph 47 of the Complaint.

           48.     Defendants deny the allegations set forth in Paragraph 48 of the Complaint, except

    admit that the Welch case was filed in 2001 by Linda Welch, the wife, and sons, Christopher Welch

    and Brian Welch, of Kenneth Welch, a U.S. servicemen who died on September 20, 1984 in the

    suicide bombing at the United States Embassy Annex in East Beirut, Lebanon by Hezbollah that

    killed 24 people; in 2006, Linda Welch, Christopher Welch and Brian Welch, jointly filed an

    amended complaint with ACCJ claimants; and state that, in conjunction with the Claimant and

    Center Agreements, Betty Welch, Gerard Welch and Michael Welch each gave Plaintiff a power

    of attorney as a representative of the ACCJ.

           49.     Defendants admit the allegations set forth in Paragraph 49 of the Complaint.

           50.     Defendants deny the allegations set forth in Paragraph 50 of the Complaint.

           51.     Defendants admit the allegations set forth in Paragraph 51 of the Complaint.

           52.     Defendants admit the allegations set forth in Paragraph 52 of the Complaint.

           53.     Defendants admit the allegations set forth in Paragraph 53 of the Complaint.




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             54.    Defendants admit the allegations set forth in Paragraph 54 of the Complaint.

             55.    Defendants admit the allegations set forth in Paragraph 55 of the Complaint.

             56.    Defendants admit the allegations set forth in Paragraph 56 of the Complaint.

             57.    Defendants deny the allegations set forth in Paragraph 57 of the Complaint, except

    admit that pursuant to an agreement with the ACCJ, on October 9, 2001, Mr. Collett’s wife and

    three children commenced the Collett action against Libya for his abduction, torture and wrongful

    death.

             58.    Defendants deny the allegations set forth in Paragraph 58 of the Complaint, except

    admit that after the 1996 amendments to the FSIA, the ACCJ conceived of bringing litigation

    against the state sponsors of the 1972 Lod Airport Massacre, one of the most cold-blooded terrorist

    attacks at the time.

             59.    Defendants admit the allegations set forth in Paragraph 59 of the Complaint.

             60.    Defendants admit the allegations set forth in Paragraph 60 of the Complaint.

             61.    Defendants deny the allegations set forth in Paragraph 61 of the Complaint, except

    admit that the ACCJ engaged an attorney, Joshua Ambush, to initiate contact with the families of

    some of the injured or killed victims to propose filing a lawsuit on their behalf, enter into the

    Claimant and Center Agreements and obtain powers of attorney on their behalves.

             62.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 62 of the Complaint.

             63.    Defendants deny the allegations set forth in Paragraph 63 of the Complaint.

             64.    Defendants deny the allegations set forth in Paragraph 64 of the Complaint.

             65.    Defendants admit the allegations set forth in Paragraph 65 of the Complaint.




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           66.     Defendants deny the allegations set forth in Paragraph 66 of the Complaint, except

    admit that by the mid-2000s the ACCJ had only limited funds, and state that this was a result of

    Plaintiff’s excessive compensation and redirection of funds from the ACCJ to the NYCCJ.

           67.     Defendants deny the allegations set forth in Paragraph 67 of the Complaint, except

    admit that an updated engagement was entered into with DLA Piper US LLP in 2007 to assist with

    collection efforts with respect to the Heiser Judgment, signed by Milton Pollack as President of

    the ACCJ, and Plaintiff as attorney-in-fact, who had obtained powers of attorney from certain

    claimants as a representative of the ACCJ.

           68.     Defendants deny the allegations set forth in Paragraph 68 of the Complaint and

    refer to the 2007 DLA Agreement for the complete terms thereof.

           69.     Defendants deny the allegations set forth in Paragraph 69 of the Complaint.

           70.     Defendants deny the allegations set forth in Paragraph 70 of the Complaint and

    refer to the 2007 DLA Agreement for the complete terms thereof.

           71.     Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 71 of the Complaint.

           72.     Defendants deny the allegations set forth in Paragraph 72 of the Complaint, except

    admit that DLA Piper US LLP filed a notice of claim on behalf of the judgment creditors in the

    Heiser Litigation, asserting ownership in the Defendant Properties in the 650 Litigation.

           73.     Defendants deny the allegations set forth in Paragraph 73 of the Complaint.

           74.     Defendants deny the allegations set forth in Paragraph 74 of the Complaint, except

    admit that Neal Sher headed the Office of Special Investigations (OSI), the Justice Department’s

    Nazi prosecution unit, and received the Raoul Wallenberg Award for his work.




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           75.     Defendants deny the allegations set forth in Paragraph 75 of the Complaint, except

    admit that the ACCJ employed Neal Sher as a lawyer for the ACCJ beginning sometime in 2009.

           76.     Defendants deny the allegations set forth in Paragraph 76 of the Complaint, except

    admit that on March 1, 2010, Neal Sher filed a notice of claim on behalf of the judgment creditors

    in the Non-Heiser litigations asserting ownership in the Defendant Properties in the 650 Litigation.

           77.     Defendants deny the allegations set forth in Paragraph 77 of the Complaint except

    admit that ACCJ entered into the 2011 DLA Agreement and refer to the 2011 DLA Agreement for

    the complete terms thereof.

           78.     Defendants admit the allegations set forth in Paragraph 78 of the Complaint and

    refer to the 2011 DLA Agreement for the complete terms thereof.

           79.     Defendants deny the allegations set forth in Paragraph 79 of the Complaint, except

    admit that ACCJ entered into the 2011 DLA Agreement and refer to the 2011 DLA Agreement for

    the complete terms thereof.

           80.     Defendants deny the allegations set forth in Paragraph 80 of the Complaint, except

    admit that in or around 2011, Iranian assets, believed to be in excess of $1.5 billion, were located

    and frozen by governmental authorities in the U.K., and that Plaintiff signed the U.K. Cooperation

    Agreement, and further state that it contained a confidentiality provision, which Plaintiff violated

    by attaching the U.K. Cooperation Agreement to the Complaint.

           81.     Defendants admit the allegations set forth in Paragraph 81 of the Complaint.

           82.     Defendants deny the allegations set forth in Paragraph 82 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           83.     Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 83 of the Complaint.




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           84.     Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 84 of the Complaint.

           85.     Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 85 of the Complaint, except admit that pursuant to

    the Claimant and Center Agreement dated July 15, 2000 between the ACCJ and Elaine Collett,

    individually and on behalf of the Estate of Alec Collett, the ACCJ was entitled to 20% of the

    recovery of settlement funds.

           86.     Defendants deny the allegations set forth in Paragraph 86 of the Complaint, except

    admit that the New York County Surrogate’s Court approved the petition and in or around

    September 29, 2009, four checks were drawn to the order of the ACCJ for a total payment of

    $2,010,000 by Elaine Collett, David Collett and Susan Maria Grant, in full satisfaction of the

    amounts due.

           87.     Defendants admit the allegations set forth in Paragraph 87 of the Complaint.

           88.     Defendants admit the allegations set forth in Paragraph 88 of the Complaint.

           89.     Defendants admit the allegations set forth in Paragraph 89 of the Complaint.

           90.     Defendants admit the allegations set forth in Paragraph 90 of the Complaint.

           91.     Defendants admit the allegations set forth in Paragraph 91 of the Complaint.

           92.     Defendants deny the allegations set forth in Paragraph 92 of the Complaint, except

    admit that the ACCJ’s 2009 Form 990 reflects program service revenue of $7,360,000.

           93.     Defendants deny the allegations set forth in Paragraph 93 of the Complaint.

           94.     Defendants deny the allegations set forth in Paragraph 94 of the Complaint.

           95.     Defendants deny the allegations set forth in Paragraph 95 of the Complaint, and

    refer to the Form 990 for 2009 for the complete terms thereof.




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           96.     Defendants deny the allegations set forth in Paragraph 96 of the Complaint, and

    refer to the Form 990 for the complete terms thereof .

           97.     Defendants deny the allegations set forth in Paragraph 97 of the Complaint, except

    admit that the ACCJ engaged JoAnn Luehring of Roberts and Holland LLP to assist with an

    examination by the IRS and two Information Document Requests issued on September 7, 2010

    and February 28, 2011.

           98.     Defendants deny the allegations set forth in Paragraph 98 of the Complaint, except

    admit that Plaintiff worked closely with JoAnn Luehring with respect to the IRS examination.

           99.     Defendants deny the allegations set forth in Paragraph 99 of the Complaint except

    admit that the ACCJ terminated Roberts and Holland LLP in December 2012.

           100.    Defendants deny the allegations set forth in Paragraph 100 of the Complaint, except

    admit that in or around early 2013, the ACCJ hired attorney Marcus Owens, formerly the director

    of the IRS Exempt Organizations Division from 1990-2000, to assist the ACCJ with responding

    to the IRS examination. Defendants further state that the ACCJ discussed the simultaneous

    engagement of Fred Goldberg and Emily Lam, both of Skadden, Arps, Slate, Meagher & Flom

    LLP with Fred Goldberg and Marcus Owens.

           101.    Defendants deny the allegations set forth in Paragraph 101 of the Complaint, except

    deny knowledge and information sufficient to form a belief as to whether Plaintiff hired Jonathan

    Bach of Cooley LLP in January 2013.

           102.    Defendants deny the allegations set forth in Paragraph 102 of the Complaint, except

    admit that, contrary to the ACCJ’s Bylaws, on January 31, 2013, Mr. Bach sent an unsigned Notice

    purportedly on behalf of Plaintiff unilaterally purporting to call a Special Board Meeting of the

    ACCJ to be held at Mr. Bach’s office.




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           103.    Defendants deny the allegations set forth in Paragraph 103 of the Complaint, except

    admit in a letter dated February 7, 2013 and sent to Plaintiff, Eliezer Perr and Milton Pollack wrote,

    among other things:

           We reiterate our view, as set forth in the email of ACCJ’s Counsel, Neal Sher, of
           February 1, 2013, that it would beneficial to all to hold an informal meeting to
           discuss and hopefully resolve all issues. We are committed to addressing and
           resolving all of everyone’s concerns and issues. . . . Should you nevertheless insist
           on a special board meeting, one will be convened, in accordance with the ACCJ
           By-laws and the New York Not-For-Profit Law, at ACCJ’s offices and at a
           mutually convenient time. You will, of course, receive the appropriate notice.

    February 7, 2013 Letter from Eliezer Perr and Milton Pollack to Plaintiff (emphasis added).

           104.    Defendants deny the allegations set forth in Paragraph 104 of the Complaint.

           105.    Defendants admit the allegations set forth in Paragraph 105 of the Complaint.

           106.    Defendants deny the allegations set forth in Paragraph 106 of the Complaint, except

    admit that on May 9, 2013, Eliezer Perr and Milton Pollack called for a meeting of the Board for

    May 20, 2013 and that Plaintiff refused to participate in that meeting without the presence of his

    personal attorney, Jonathan Bach. The ACCJ determined that such participation by a personal

    attorney would be inappropriate.

           107.    Defendants deny the allegations set forth in Paragraph 107 of the Complaint, except

    admit that the ACCJ had requested certain documents from Plaintiff, that were themselves

    requested from the IRS, and Plaintiff did not provide them.

           108.    Defendants deny the allegations set forth in Paragraph 108 of the Complaint.

           109.    Defendants deny the allegations set forth in Paragraph 109 of the Complaint, except

    admit Mr. Bach and Marcus Owens communicated during the course of preparing the response to

    the IRS examination.




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           110.    Defendants deny the allegations set forth in Paragraph 110 of the Complaint, except

    admit that Caplin & Drysdale shared drafts of its audit response with Mr. Bach, and state that the

    drafts of the audit response speak for themselves.

           111.    Defendants deny the allegations set forth in Paragraph 111 of the Complaint, except

    admit Mr. Bach was given copies of the minutes of the April 1, 2007 board meeting and the April

    12, 2007 Agreement.

           112.    Defendants deny the allegations set forth in Paragraph 112 of the Complaint, and

    refer to the IRS response and emails for the complete terms thereof, and state that Plaintiff failed

    to provide any documentation to Caplin & Drysdale after being requested to do so to substantiate

    his unsupported and false allegations.

           113.    Defendants deny the allegations set forth in Paragraph 113 of the Complaint.

           114.    Defendants deny the allegations set forth in Paragraph 114 of the Complaint.

           115.    Defendants deny the allegations set forth in Paragraph 115 of the Complaint, except

    admit that Milton Pollack signed the April 1, 2007 Board minutes.

           116.    Defendants deny the allegations set forth in Paragraph 116 of the Complaint, except

    admit that Plaintiff was not present at the April 1, 2007 Board meeting.

           117.    Defendants deny the allegations set forth in Paragraph 117 of the Complaint, and

    state that the April 1, 2007 Board minutes speak for themselves.

           118.    Defendants deny the allegations set forth in Paragraph 118 of the Complaint.

           119.    Defendants deny the allegations set forth in Paragraph 119 of the Complaint.

           120.    Defendants deny the allegations set forth in Paragraph 120 of the Complaint.

           121.    Defendants deny the allegations set forth in Paragraph 121 of the Complaint.

           122.    Defendants deny the allegations set forth in Paragraph 122 of the Complaint.




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           123.    Defendants deny the allegations set forth in Paragraph 123 of the Complaint.

           124.    Defendants deny the allegations set forth in Paragraph 124 of the Complaint.

           125.    Defendants deny the allegations set forth in Paragraph 125 of the Complaint and

    refer to the 2007 Agreement for the complete terms thereof.

           126.    Defendants deny the allegations set forth in Paragraph 126 of the Complaint and

    refer to the 2007 Agreement for the complete terms thereof.

           127.    Defendants deny the allegations set forth in Paragraph 127 of the Complaint.

           128.    Defendants deny the allegations set forth in Paragraph 128 of the Complaint, except

    admit the ACCJ retained Stroock & Stroock & Lavan LLP, Carter Ledyard & Milburn, and Paul

    Gaston, and admit that the New Jersey Center was not a party to the Ambush Litigation, and refer

    to the DLA Agreements for the complete terms thereof.

           129.    Defendants deny the allegations set forth in Paragraph 129 of the Complaint.

           130.    Defendants deny the allegations set forth in Paragraph 130 of the Complaint and

    state that Plaintiff is well aware that the New Jersey Center was leading the collection efforts for

    judgment creditors and the ACCJ.

           131.    Defendants deny the allegations set forth in Paragraph 131 of the Complaint.

           132.    Defendants deny the allegations set forth in Paragraph 132 of the Complaint.

           133.    Defendants deny the allegations set forth in Paragraph 133 of the Complaint.

           134.    Defendants deny the allegations set forth in Paragraph 134 of the Complaint.

           135.    Defendants deny the allegations set forth in Paragraph 135 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           136.    Defendants deny the allegations set forth in Paragraph 136 of the Complaint.

           137.    Defendants deny the allegations set forth in Paragraph 137 of the Complaint.




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           138.    Defendants deny the allegations set forth in Paragraph 138 of the Complaint, except

    admit that the April 12, 2007 agreement states that “in lieu of funds, [it] is hereby assigning to

    [NEW JERSEY] CENTER, all ACCJ’s interests in Libya claims,” and further state that the ACCJ

    retained the New Jersey Center to pursue collections on judgments only, the April 12, 2007

    Agreement did not assign to the New Jersey Center the ACCJ’s rights and/or responsibilities to

    pursue claims that have not yet received judgments, and the Franqui cases were never reduced to

    judgment.

           139.    Defendants deny the allegations set forth in Paragraph 139 of the Complaint, except

    admit that the ACCJ received $7,360,000 as proceeds from the Franqui case, and state that the

    IRS examination response speaks for itself.

           140.    Defendants deny the allegations set forth in Paragraph 140 of the Complaint.

           141.    Defendants admit the allegations set forth in Paragraph 141 of the Complaint.

           142.    Defendants deny the allegations set forth in Paragraph 142 of the Complaint.

           143.    Defendants deny the allegations set forth in Paragraph 143 of the Complaint and

    refer to the IDR for the complete terms thereof.

           144.    Defendants deny the allegations set forth in Paragraph 144 of the Complaint, except

    admit that the New Jersey Center’s Form 990 for 2009 showed the receipt of $2,646,144.

           145.    Defendants deny the allegations set forth in Paragraph 145 of the Complaint.

           146.    Defendants deny the allegations set forth in Paragraph 146 of the Complaint, and

    state that the New Jersey Center expended considerable funds, including to retain counsel, and

    engaged individuals from the intelligence community to locate Iranian assets in the United

    Kingdom as per the 2007 Agreement.




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           147.    Defendants deny the allegations set forth in Paragraph 147 of the Complaint, and

    state that Plaintiff was well aware of the formation of ARC and its purposes which are not as

    alleged in the Complaint.

           148.    Defendants deny the allegations set forth in Paragraph 148 of the Complaint, and

    state that as documents reflect Plaintiff was well aware of, and involved with, the negotiations

    regarding, and potential participation of ARC with respect to, potential agreements with other

    judgment creditor groups. The proposed work of ARC was entirely consistent with the mission of

    ACCJ. No agreements were ever finalized. ARC did not receive anything with respect to the

    potential agreements. ARC was never operational and its status as an active company was revoked

    by New Jersey.

           149.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 149 of the Complaint, except neither admit nor deny

    any allegation of law therein, and further deny that Jed Perr made any misrepresentations to DLA

    Piper US LLP regarding ARC.

           150.    Defendants deny the allegations set forth in Paragraph 150 of the Complaint.

           151.    Defendants deny the allegations set forth in Paragraph 151 of the Complaint, except

    admit that Plaintiff’s counsel sent an email about ARC to Sharon Nokes and Marcus Owens and

    refer to the email for the complete contents thereof, and state that Plaintiff was well aware of, and

    involved with, the negotiations regarding ARC, contrary to the allegations of the Complaint.

           152.    Defendants deny the allegations set forth in Paragraph 152 of the Complaint, and

    state that in furtherance of its collection efforts pursuant to the 2007 Agreement, the New Jersey

    Center became aware that there were Iranian assets in Canada, and Torys LLP was retained to

    pursue Iranian assets. The New Jersey Center has been paying those fees.




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           153.    Defendants deny the allegations set forth in Paragraph 153 of the Complaint, except

    admit that on April 16, 2014, an agreement was reached between the U.S. Attorney for the

    Southern District of New York and various judgment creditor groups in the 650 Litigation, on the

    distribution of funds once the properties forfeited were sold, which would help compensate the

    long-suffering victims of Iranian acts of terror. The New Jersey Center, acting pursuant to the

    2007 Agreement and in conjunction with DLA Piper US LLP, attorney for Heiser claimants, and

    Neal Sher, attorney for the Non-Heiser claimants, actively participated in reaching this agreement.

           154.    Defendants deny the allegations set forth in Paragraph 154 of the Complaint.

           155.    Defendants deny the allegations set forth in Paragraph 155 of the Complaint except

    deny knowledge or information sufficient to form a belief as to the truth of the allegations as to

    whether Welch contacted Plaintiff.

           156.    Defendants deny the allegations set forth in Paragraph 156 of the Complaint, except

    admit that Mr. Welch had received a letter dated May 28, 2104, from Jed Perr, acting pursuant to

    the 2007 Agreement, sent to all the Non-Heiser Judgment Creditors (the “May 28, 2014 Letter”)

    advising them that claims had been filed on their behalf in Canada where Iranian assets had been

    located; that a mutual cooperation settlement agreement was being negotiated by Torys LLP that

    had been retained to represent the Heiser and Non-Heiser claimants; neither admit nor deny any

    allegation of law in the second sentence; and state that Plaintiff, in the early 2000s, had received

    powers of attorney as an employee of the ACCJ in conjunction with the Claimant and Center

    Agreements, at the relevant time, Plaintiff cut off communication with the ACCJ, and thus the

    ACCJ sought powers of attorneys to facilitate the effective retention of counsel and in pursuit of

    collections, also pursuant to the Claimant and Center Agreements.




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           157.    Defendants deny the allegations set forth in Paragraph 157 of the Complaint, except

    admit that Mr. Welch contacted Jed Perr.

           158.    Defendants deny the allegations set forth in Paragraph 158 of the Complaint.

           159.    Defendants deny the allegations set forth in Paragraph 159 of the Complaint, except

    deny knowledge and information sufficient to form a belief as to the truth of the allegations

    concerning Mr. Welch and Plaintiff speaking to one another.

           160.    Defendants deny the allegations set forth in Paragraph 160 of the Complaint.

           161.    Defendants deny the allegations set forth in Paragraph 161 of the Complaint, except

    neither admit nor deny any allegation of law therein, and state that the power of attorney set forth

    was in furtherance of Claimant and Center Agreements and clearly limited to the ongoing

    collection efforts worldwide and did not extend, for example, to general control over individual

    accounts or estate matters.

           162.    Defendants deny the allegations set forth in Paragraph 162 of the Complaint, and

    state that Plaintiff is well aware that the May 28, 2014 Agreement did not increase the fees to

    claimants and that Plaintiff’s allegations are designed to malign and defame Defendants. The

    original litigation engagement agreements entered into in the early 2000s provided for a 20% fee

    for the legal and other costs related to bringing the initial lawsuit culminating in a judgment (the

    “Litigation Fee”). In 2011, with Plaintiff’s knowledge and active participation, the claimants

    entered into collection agreements that provided for an additional up to 20% for legal and

    consultant fees related to collections (with no additional pledge to the ACCJ) (the “Collection

    Fee”). The May 28, 2014 Agreement combined the 20% Litigation Fee and 20% Collection Fee

    for a total of 36%. The 36% covers any and all expenses.




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           163.    Defendants deny the allegations set forth in Paragraph 163 of the Complaint, and

    state that as explained in Paragraph 162, the fees were never raised.

           164.    Defendants deny the allegations set forth in Paragraph 164 of the Complaint, and

    state that neither the May 28, 2014 agreement nor the prior agreements specifically identified all

    relevant attorneys or other personnel that would share in the recovery, and there never was any

    agreement, either written or oral, for ARC to share in any such recovery.

           165.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 165 of the Complaint.

           166.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 166 of the Complaint.

           167.    Defendants deny the allegations set forth in Paragraph 167 of the Complaint, except

    admit that counsel for the ACCJ sent a letter dated June 10, 2014 to Plaintiff’s counsel and that

    representatives of the ACCJ advised DLA that Plaintiff was not a representative of the ACCJ and

    refer to the letter for the complete terms thereof.

           168.    Defendants deny the allegations set forth in Paragraph 168 of the Complaint, except

    admit that Plaintiff was appointed to the Board at a May 9, 2010 Board meeting to complete the

    remaining term of a member who had resigned, Plaintiff’s term was to expire in May 2011, and

    that he was subsequently replaced on the Board when an additional member was appointed.

           169.    Defendants deny the allegations set forth in Paragraph 169 of the Complaint, except

    admit that a copy of the May 9, 2010 Board minutes is attached as Exhibit 26 to the Complaint,

    and that Plaintiff signed the May 9, 2010 Board minutes, which show that Plaintiff was neither an

    officer nor director of the ACCJ as of May 9, 2010.

           170.    Defendants admit the allegations set forth in Paragraph 170 of the Complaint.




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             171.    Defendants deny the allegations set forth in Paragraph 171 of the Complaint, except

    neither admit nor deny any allegation of law therein.

             172.    Defendants deny the allegations set forth in Paragraph 172 of the Complaint, except

    admit that the ACCJ amended its bylaws in April 2007, neither admit nor deny any allegation of

    law therein, and state that the ACCJ never operated as a membership organization, Plaintiff never

    paid any membership dues, and Plaintiff admitted that the ACCJ was not a membership

    organization in numerous documents, including in a submission to the New York Secretary of

    State.

             173.    Defendants deny the allegations set forth in Paragraph 173 of the Complaint.

             174.    Defendants deny the allegations set forth in Paragraph 174 of the Complaint, and

    state that the 2009 Form 990 and the Ambush Declaration speak for themselves, and for the reasons

    set forth above, Jonathan Tendler, Mark Hirschman and Milton Pollack were correctly identified

    in the 2009 Form 990 as directors of the ACCJ’s Board, as Plaintiff himself has also testified under

    oath.

             175.    Defendants deny the allegations set forth in Paragraph 175 of the Complaint, except

    admit that the May 9, 2010 minutes, signed by Plaintiff, demonstrate that Plaintiff and Eliezer Perr

    returned to the Board as directors, and that Eliezer Perr was named President/Executive Director

    of the Center.

             176.    Defendants deny the allegations set forth in Paragraph 176 of the Complaint.

             177.    Defendants deny the allegations set forth in Paragraph 177 of the Complaint but

    admit that Exhibit 31 to the Complaint wrongly references Plaintiff as the President of the ACCJ.




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           178.    Defendants admit the allegations set forth in Paragraph 178 of the Complaint, and

    state that Eliezer Perr was elected as the executive director of the ACCJ on May 9, 2010, as

    reflected in the May 9, 2010 meeting minutes, signed by Plaintiff.

           179.    Defendants deny the allegations set forth in Paragraph 179 of the Complaint.

           180.    Defendants deny the allegations set forth in Paragraph 180 of the Complaint, and

    state that the 2010 Form 990 affirmatively states that the Center had a written conflict of interest

    policy. See Compl. Ex. 54 (2010 Form 990).

           181.    Defendants deny the allegations set forth in Paragraph 181 of the Complaint.

           182.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 182 of the Complaint.

           183.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 183 of the Complaint.

           184.    Defendants deny the allegations set forth in Paragraph 184 of the Complaint. See

    supra Paragraphs 162-63.

           185.    Defendants deny the allegations set forth in Paragraph 185 of the Complaint. See

    supra Paragraphs 162-64.

           186.    Defendants deny the allegations set forth in Paragraph 186 of the Complaint, and

    state that the information that Plaintiff claims was omitted from the March 24 letter was in fact

    contained in the agreement attached to that letter.

           187.    Defendants admit the allegations set forth in Paragraph 187 of the Complaint, and

    state that the 2011 Agreement with the claimants allows up to 20% for both DLA Piper US LLP

    fees and other legal and expert fees.

           188.    Defendants deny the allegations set forth in Paragraph 188 of the Complaint.




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           189.    Defendants deny the allegations set forth in Paragraph 189 of the Complaint, except

    admit that the ACCJ is not incorporated in New Jersey. Defendants further state that the Brewer

    plaintiffs were always New Jersey Center clients and Jed Perr held powers of attorney.

           190.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 190 of the Complaint.

           191.    Defendants deny the allegations set forth in Paragraph 191 of the Complaint, except

    deny knowledge and information sufficient to form a belief as to the truth of Plaintiff trying to get

    more information.

           192.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 192 of the Complaint, except neither admit nor deny

    any allegation of law therein.

           193.    Defendants deny the allegations set forth in Paragraph 193 of the Complaint, except

    admit that Daniel Kurtz made a request for information on a July 10, 2014 telephone conversation

    with Marcus Owens, outside counsel for the ACCJ and his colleague Sharon Nokes; Marcus

    Owens advised that he would consult with the ACCJ; and in a July 11, 2014 email to Marcus

    Owens, Carla Gant of Skadden Arps stated that Plaintiff had not been apprised of any details of

    either the Canadian litigation or proposed settlement agreement and looked forward to receiving

    “details as to the Canadian litigation, the settlement and any fee arrangement, and why the Center

    believes it [to be] in the best interest of the judgment creditors, for [Dr. Engelberg’s] assessment.”

    Compl. Ex. 37 (July 11, 2014 Email from Carla Gant to Marcus Owens).

           194.    Defendants admit the allegations set forth in Paragraph 194 of the Complaint.




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           195.    Defendants deny the allegations set forth in Paragraph 195 of the Complaint, except

    admit that Marcus Owens sent a copy of the letter and advised that the ACCJ was ready to provide

    additional information if requested to do so.

           196.    Defendants deny the allegations set forth in Paragraph 196 of the Complaint, except

    admit that the July 15, 2014 letter advised the remaining Non-Heiser claimants who had not yet

    signed the May 28, 2014 Agreement that, should they wish to have the ACCJ represent their

    interests and be included in the Canadian mutual cooperation settlement agreement and be a part

    of the Center’s judgment creditor group, they needed to execute the May 28, 2014 Agreement and

    requested that a response be provided in writing by July 17, 2014.

           197.    Defendants deny the allegations set forth in Paragraph 197 of the Complaint, except

    admit that by letter dated July 17, 2014, Daniel Kurtz alleged that Plaintiff had no intention of

    impeding a settlement in Canada and refer to the letter for the complete terms thereof.

           198.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 198 of the Complaint, except neither admit nor deny

    any allegation of law therein.

           199.    Defendants deny the allegations set forth in Paragraph 199 of the Complaint.

           200.    Defendants deny the allegations set forth in Paragraph 200 of the Complaint.

           201.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 201 of the Complaint.

           202.    Defendants deny the allegations set forth in Paragraph 202 of the Complaint, and

    refer to the emails for the complete terms thereof.

           203.    Defendants deny the allegations set forth in Paragraph 203 of the Complaint. See

    supra Paragraphs 162-63.




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           204.    Defendants deny the allegations set forth in Paragraph 204 of the Complaint.

           205.    Defendants deny the allegations set forth in Paragraph 205 of the Complaint.

           206.    Defendants deny the allegations set forth in Paragraph 206 of the Complaint, and

    refer to the letter for the complete terms thereof.

           207.    Defendants deny the allegations set forth in Paragraph 207 of the Complaint, and

    refer to the email for the complete terms thereof.

           208.    Defendants deny knowledge and information sufficient to form a belief as to the

    truth of the allegations set forth in Paragraph 208 of the Complaint.

           209.    Defendants deny the allegations set forth in Paragraph 209 of the Complaint, except

    deny knowledge and information sufficient to form a belief as to the truth of the allegations with

    respect to what Torys LLP allegedly said to Plaintiff.

           210.    Defendants deny the allegations set forth in Paragraph 210 of the Complaint.

           211.    Defendants deny the allegations set forth in Paragraph 211 of the Complaint.

           212.    Defendants deny the allegations set forth in Paragraph 212 of the Complaint, except

    admit that Marcus Owens sent the August 12, 2014 letter, attached as Exhibit 48 to the Complaint,

    to Daniel Kurtz and refer to the letter for the complete terms thereof and deny knowledge or

    information sufficient to form a belief as to what Mr. Welch discussed with Plaintiff and state that

    the letter pointed out that Plaintiff’s characterization of the fee structure was incorrect.

           213.    Defendants deny the allegations set forth in Paragraph 213 of the Complaint, except

    admit that Daniel Kurtz sent the August 13, 2014 letter, attached as Exhibit 49 to the Complaint,

    to Marcus Owens and state that it failed to explain or defend Plaintiff’s position that his

    characterization of the fee structure was in fact not incorrect.




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            214.   Defendants deny the allegations set forth in Paragraph 214 of the Complaint, and

    state that pursuant to the 2007 Agreement Jed Perr sent a letter on September 9, 2014 to judgment

    creditors.

            215.   Defendants deny the allegations set forth in Paragraph 215 of the Complaint, except

    admit that on September 11, 2014, Eliezer Perr sent a Notice of Annual Board Meeting for the

    ACCJ to be held on September 18, 2014 to discuss, among other things, the annual ACCJ Board

    membership.

            216.   Defendants deny the allegations set forth in Paragraph 216 of the Complaint, and

    state that the Eliezer Perr sent Plaintiff an email dated September 17, 2014, which stated that

    “Participation by your attorneys: As I’m sure you recall, at the May 2013 Board Meeting it was

    decided that your personal attorney could not participate and we see no reason to deviate from that

    position. Accordingly, it would be inappropriate for either Ms. Katar or Mr. Kurtz to participate

    in tomorrow’[s] meeting,” and neither Plaintiff nor his attorneys challenged that decision at the

    time. Compl. Ex. 51 (September 17, 2014 Email from Eliezer Perr to Plaintiff).

            217.   Defendants deny the allegations set forth in Paragraph 217 of the Complaint, except

    admit that Plaintiff participated telephonically, and further state that neither at this board meeting

    nor at any time prior had Plaintiff ever taken the position that the ACCJ was a member corporation

    or that he could not be replaced on the Board of Directors or that the Board of Directors was

    invalidly constituted.

            218.   Defendants deny the allegations set forth in Paragraph 218 of the Complaint.

            219.   Defendants deny the allegations set forth in Paragraph 219 of the Complaint, except

    admit that under the Claimant and Center Agreements, claimants agreed to pay the Center a portion

    of the net proceeds of any recovery, and that Exhibit 2 to the Complaint states that “[i]n further




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    consideration of the ongoing efforts and services of the Center to assist other victims of oppression

    and to deter further acts of terrorism, and in order to promote the Center’s ability to carry out its

    goals and purposes . . . .” Compl. Ex. 2 (Claimant and Center Agreement).

           220.    Defendants deny the allegations set forth in Paragraph 220 of the Complaint, and

    state that the express purposes in the original and amendment to the Certificate of Incorporation

    are:

           To create, form and establish a civil rights organization for the benefit of victims
           of terrorism in the United States and abroad; to promote, foster, increase and
           advance the civil rights of victims of terrorism; to maintain a network of lawyers,
           researchers, journalists, investigators and government officials to further the
           purposes of this corporation; to identify and document terrorist acts committed
           and/or sponsored by individuals, groups or states; to identify sources, resources and
           assets of the perpetrators and sponsors of terrorism to advise victims of their rights
           and methods of addressing compensation for acts of terror; to advocate the passage
           of legislation that will make it a crime to sponsor, aid and abet terrorists and to
           promote legislation that will simplify and speed the collection of punitive damages;
           to encourage interest, awareness and activism in the American and world political
           arena with reference to the plight of victims of terrorism throughout the world; to
           initiate and promote civic and political programs beneficial to the victimized people
           of the world; to hold, conduct and organize meetings, discussions and forums to
           consider community opinions on issues affecting the health and the economic,
           educational and social welfare of victims of terrorism throughout the world; to aid,
           assist, cooperate, co-sponsor and otherwise engage in concerted action with private
           and governmental agencies and organizations on all programs designed, calculated
           and dedicated to·the improvement of life for the aforesaid people; to·solicit, collect
           and otherwise raise money for charitable, eleemosynary and benevolent purposes
           and to expend such monies for such purposes and generally to advance the
           accountability to the victims of terrorists and those who sponsor, aid and abet acts
           of terror throughout the world.

                  In furtherance of its corporate purposes, the corporation shall have all the
           general powers enumerated in Section 202 of the Not-For-Profit Corporation Law,
           together with the power to solicit grants and contributions for the corporate
           purposes.

                  Nothing herein shall authorize this corporation, directly or indirectly, to
           engage in or include among its purposes, any of the activities mentioned in the Not-
           For-Profit Corporation Law, Section 404(b)-(v).

    Certification of Incorporation, dated November 21, 1996.



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                   Said corporation is organized for charitable, religious and educational
           purposes, including for such purposes, the making of distributions to such
           organizations and those that are committed to perpetuate the causes of civil
           liberties, civil justice, religious freedom and tolerance as guaranteed by the United
           States Constitution, and those that qualify as exempt organizations under section
           501(c)(3) of the Internal Revenue Code, or the corresponding section of any future
           federal tax code.

    Certificate of Amendment of the Certificate of Incorporation, dated January 20, 2005.

           221.    Defendants deny the allegations set forth in Paragraph 221 of the Complaint.

           222.    Defendants deny the allegations set forth in Paragraph 222 of the Complaint, and

    state that the following is contained in the August 23, 2010 Board of Directors meeting minutes

    for the American Center for Civil Justice:

           Dr. Engelberg countered that insomuch as Jewish schools have been targeted
           throughout the world, and Jewish children are a constant target of Muslim terrorism
           as well as other forms of violence and persecution, grants be provided to schools
           that are open to the concept of security, and who are willing to implement some
           form of security on their grounds, beginning with schools in the Jewish centers of
           NYC, Monsey NY, Lakewood NJ, and see how it goes.

    August 23, 2010 Board Minutes (emphasis added).

           223.    Defendants deny the allegations set forth in Paragraph 223 of the Complaint, and

    state that all contributions made to other charitable organizations by the ACCJ were legitimate

    charitable contributions and were consistent with New York law and the ACCJ’s express purposes.

           224.    Defendants deny the allegations set forth in Paragraph 224 of the Complaint.

           225.    Defendants deny the allegations set forth in Paragraph 225 of the Complaint.

           226.    Defendants deny the allegations set forth in Paragraph 226 of the Complaint, and

    state that Eliezer Perr’s brother, Yechiel Perr, is one of four officers of the Yeshiva of Far

    Rockaway and is not a member of its board of directors, and the institution has no owners.

           227.    Defendants deny the allegations set forth in Paragraph 227 of the Complaint, except

    admit that the May 20, 2013 meeting minutes show that in 2013 Eliezer Perr and Milton Pollack



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    approved a grant of $100,000 of ACCJ funds to Mesila International Inc., an organization

    described by Eliezer Perr, as being “dedicated to teaching financial literacy and responsibility by

    combating the increase in personal debt widespread mismanagement of personal funds and raising

    awareness about the importance of financial stability and independence;” according to Eliezer Perr,

    Mesila International Inc. holds “workshops, seminars and counseling courses, all aimed at raising

    awareness for responsible financial management” and “provides preventive education through a

    financial management curriculum taught in high schools across the globe as well as courses in

    other post high school programs;” deny knowledge and information sufficient to form a belief as

    to the truth of the allegations set forth in the last two sentences of Paragraph 227; and refer to the

    2012 Form 990 for Mesila International for the complete terms thereof.

           228.    Defendants deny the allegations set forth in Paragraph 228 of the Complaint, and

    state that Plaintiff, as with all charitable contributions made by the ACCJ over its fourteen year

    history of such contributions, never criticized, tried to prevent, or opposed any charitable

    contribution except in connection with this lawsuit, and that the ACCJ Board approved the

    donation, as reflected in the September 1, 2013 Board minutes:

           Next on the agenda was Security & educational grants. Elie Perr stated that the
           National Society of Hebrew Day Schools’ (NSHDS), whose membership consists
           of over 675 day schools with a total student enrollment of over 190,000. It is
           therefore advisable that ACCJ’s policy of charity tithing to educational institutions
           be done by donating to the NSHDS. Elie Perr made a motion to contribute
           $250,000.00 towards their fund which is managed and distributed by NSHDS. Joel
           Seitler and Victoria Nolon, seconded the motion. The Board agreed and the motion
           was carried unanimously.

    Compl. Ex. 60 (September 1, 2013 Board Minutes).

           229.    Defendants deny the allegations set forth in Paragraph 229 of the Complaint.

           230.    Defendants deny the allegations set forth in Paragraph 230 of the Complaint, except

    neither admit nor deny any allegation of law therein.



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           231.    Defendants deny the allegations set forth in Paragraph 231 of the Complaint.

           232.    Defendants deny the allegations set forth in Paragraph 232 of the Complaint.

           233.    Defendants deny the allegations set forth in Paragraph 233 of the Complaint.

           234.    Defendants deny the allegations set forth in Paragraph 234 of the Complaint.

           235.    Defendants deny the allegations set forth in Paragraph 235 of the Complaint.

           236.    Defendants neither admit nor deny the allegations set forth in Paragraph 236 of the

    Complaint because they involve questions of law, except admit that Plaintiff has not made a

    demand on the ACCJ Board.

           237.    Defendants deny the allegations set forth in Paragraph 237 of the Complaint.

           238.    Defendants deny the allegations set forth in Paragraph 238 of the Complaint.

           239.    Defendants deny the allegations set forth in Paragraph 239 of the Complaint.

           240.    Defendants deny the allegations set forth in Paragraph 240 of the Complaint, except

    neither admit nor deny any allegation of law therein.

           241.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           242.    Defendants deny the allegations set forth in Paragraph 242 of the Complaint.

           243.    Defendants deny the allegations set forth in Paragraph 243 of the Complaint.

           244.    Defendants deny the allegations set forth in Paragraph 244 of the Complaint.

           245.    The 2009 Form 990 for the ACCJ speaks for itself.

           246.    The 2009 Form 990 for the New Jersey Center speaks for itself.

           247.    The IRS examination response speaks for itself.

           248.    Defendants deny the allegations set forth in Paragraph 248 of the Complaint.

           249.    Defendants deny the allegations set forth in Paragraph 249 of the Complaint.




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           250.    Defendants deny the allegations set forth in Paragraph 250 of the Complaint.

           251.    Defendants deny the allegations set forth in Paragraph 251 of the Complaint.

           252.    Defendants, upon information and belief, deny the allegations set forth in Paragraph

    252 of the Complaint, and state that on May 4, 2010, $480,000 was deposited into the bank by the

    ACCJ, which received the money as settlement proceeds from the Franqui case.

           253.    Defendants deny the allegations set forth in Paragraph 253 of the Complaint.

           254.    Defendants deny the allegations set forth in Paragraph 254 of the Complaint.

           255.    Defendants deny the allegations set forth in Paragraph 255 of the Complaint.

           256.    Defendants deny the allegations set forth in Paragraph 256 of the Complaint.

           257.    Defendants deny the allegations set forth in Paragraph 257 of the Complaint.

           258.    Defendants deny the allegations set forth in Paragraph 258 of the Complaint.

           259.    Defendants deny the allegations set forth in Paragraph 259 of the Complaint.

           260.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           261.    Defendants deny the allegations set forth in Paragraph 261 of the Complaint.

           262.    Defendants deny the allegations set forth in Paragraph 262 of the Complaint, and

    state that in 2012 Jed Perr filed paperwork with the Secretary of State with respect to ARC, which

    was never operational and on November 16, 2014, the Secretary of State of New Jersey issued a

    Certificate of Revocation of ARC’s status as an active New Jersey business entity.

           263.    Defendants deny the allegations set forth in Paragraph 263 of the Complaint.

           264.    Defendants deny the allegations set forth in Paragraph 264 of the Complaint.

           265.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.




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           266.    Defendants deny the allegations set forth in Paragraph 266 of the Complaint.

           267.    Defendants deny the allegations set forth in Paragraph 267 of the Complaint.

           268.    Defendants deny the allegations set forth in Paragraph 268 of the Complaint.

           269.    The 2009 Form 990 for the ACCJ speaks for itself.

           270.    The 2009 Form 990 for the New Jersey Center speaks for itself.

           271.    The IRS examination response speaks for itself.

           272.    Defendants deny the allegations set forth in Paragraph 272 of the Complaint.

           273.    Defendants deny the allegations set forth in Paragraph 273 of the Complaint.

           274.    Defendants deny the allegations set forth in Paragraph 274 of the Complaint.

           275.    Defendants deny the allegations set forth in Paragraph 275 of the Complaint.

           276.    Defendants, upon information and belief, deny the allegations set forth in Paragraph

    276 of the Complaint, and state that on May 4, 2010, $480,000 was deposited into the bank by the

    ACCJ, which received the money as settlement proceeds from the Franqui case.

           277.    Defendants deny the allegations set forth in Paragraph 277 of the Complaint.

           278.    Defendants deny the allegations set forth in Paragraph 278 of the Complaint.

           279.    Defendants deny the allegations set forth in Paragraph 279 of the Complaint.

           280.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           281.    Defendants deny the allegations set forth in Paragraph 281 of the Complaint.

           282.    Defendants deny the allegations set forth in Paragraph 282 of the Complaint.

           283.    Defendants deny the allegations set forth in Paragraph 283 of the Complaint.




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           284.    Defendants deny the allegations set forth in Paragraph 284 of the Complaint, except

    admit that on December 16, 2013, the ACCJ submitted a response to IDR #3, which was issued as

    part of the IRS examination.

           285.    The response to IDR #3 speaks for itself.

           286.    Defendants deny the allegations set forth in Paragraph 286 of the Complaint.

           287.    Defendants deny the allegations set forth in Paragraph 287 of the Complaint.

           288.    Defendants deny the allegations set forth in Paragraph 288 of the Complaint.

           289.    Defendants deny the allegations set forth in Paragraph 289 of the Complaint.

           290.    Defendants deny the allegations set forth in Paragraph 290 of the Complaint.

           291.    Defendants deny the allegations set forth in Paragraph 291 of the Complaint.

           292.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           293.    Defendants deny the allegations set forth in Paragraph 293 of the Complaint.

           294.    Defendants deny the allegations set forth in Paragraph 294 of the Complaint.

           295.    Defendants deny the allegations set forth in Paragraph 295 of the Complaint.

           296.    The 2009 Form 990 for the ACCJ speaks for itself.

           297.    The 2009 Form 990 for the New Jersey Center speaks for itself.

           298.    The IRS examination response speaks for itself.

           299.    Defendants deny the allegations set forth in Paragraph 299 of the Complaint.

           300.    Defendants deny the allegations set forth in Paragraph 300 of the Complaint.

           301.    Defendants deny the allegations set forth in Paragraph 301 of the Complaint.

           302.    Defendants deny the allegations set forth in Paragraph 302 of the Complaint.




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           303.    Defendants, upon information and belief, deny the allegations set forth in Paragraph

    303 of the Complaint, and state that on May 4, 2010, $480,000 was deposited into the bank by the

    ACCJ, which received the money as settlement proceeds from the Franqui case.

           304.    Defendants deny the allegations set forth in Paragraph 304 of the Complaint.

           305.    Defendants deny the allegations set forth in Paragraph 305 of the Complaint.

           306.    Defendants deny the allegations set forth in Paragraph 306 of the Complaint.

           307.    Defendants deny the allegations set forth in Paragraph 307 of the Complaint.

           308.    Defendants deny the allegations set forth in Paragraph 308 of the Complaint.

           309.    Defendants deny the allegations set forth in Paragraph 309 of the Complaint.

           310.    Defendants deny the allegations set forth in Paragraph 310 of the Complaint.

           311.    Defendants deny the allegations set forth in Paragraph 311 of the Complaint.

           312.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           313.    Defendants deny the allegations set forth in Paragraph 313 of the Complaint.

           314.    Defendants deny the allegations set forth in Paragraph 314 of the Complaint, except

    admit that in 2012 Jed Perr filed paperwork with the Secretary of State with respect to forming

    ARC, a limited liability company, which was never operational and for which the Secretary of

    State has now issued a certificate of revocation.

           315.    Defendants deny the allegations set forth in Paragraph 315 of the Complaint.

           316.    Defendants deny the allegations set forth in Paragraph 316 of the Complaint.

           317.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           318.    Defendants deny the allegations set forth in Paragraph 318 of the Complaint.




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           319.    Defendants deny the allegations set forth in Paragraph 319 of the Complaint.

           320.    Defendants deny the allegations set forth in Paragraph 320 of the Complaint.

           321.    Defendants deny the allegations set forth in Paragraph 321 of the Complaint.

           322.    Defendants deny the allegations set forth in Paragraph 322 of the Complaint, except

    admit that in 2013, the ACCJ Board approved the grant of $100,000 to Mesila International Inc.,

    an organization dedicated to help debt ridden indigent individuals restructure and improve their

    lives and a donation of $250,000 to the National Society of Hebrew Day Schools, an orthodox

    Jewish organization that fosters and promotes Torah-based Jewish religious education in North

    America.

           323.    Defendants deny the allegations set forth in Paragraph 323 of the Complaint.

           324.    Defendants deny the allegations set forth in Paragraph 324 of the Complaint.

           325.    Defendants deny the allegations set forth in Paragraph 325 of the Complaint.

           326.    Defendants deny the allegations set forth in Paragraph 326 of the Complaint.

           327.    Defendants deny the allegations set forth in Paragraph 327 of the Complaint.

           328.    Defendants deny the allegations set forth in Paragraph 328 of the Complaint.

           329.    Defendants deny the allegations set forth in Paragraph 329 of the Complaint.

           330.    Defendants deny the allegations set forth in Paragraph 330 of the Complaint.

           331.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           332.    Defendants deny the allegations set forth in Paragraph 332 of the Complaint.

           333.    Defendants deny the allegations set forth in Paragraph 333 of the Complaint.

           334.    Defendants deny the allegations set forth in Paragraph 334 of the Complaint.

           335.    Defendants deny the allegations set forth in Paragraph 335 of the Complaint.




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           336.    Defendants deny the allegations set forth in Paragraph 336 of the Complaint, except

    admit that in 2013, the ACCJ Board approved the grant of $100,000 to Mesila International Inc.,

    an organization dedicated to help debt ridden indigent individuals restructure and improve their

    lives and a donation of $250,000 to the National Society of Hebrew Day Schools, an orthodox

    Jewish organization that fosters and promotes Torah-based Jewish religious education in North

    America.

           337.    Defendants deny the allegations set forth in Paragraph 337 of the Complaint.

           338.    Defendants deny the allegations set forth in Paragraph 338 of the Complaint.

           339.    Defendants deny the allegations set forth in Paragraph 339 of the Complaint.

           340.    Defendants deny the allegations set forth in Paragraph 340 of the Complaint.

           341.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           342.    Defendants deny the allegations set forth in Paragraph 342 of the Complaint.

           343.    Defendants deny the allegations set forth in Paragraph 343 of the Complaint, and

    state that Eliezer Perr was elected as President/Executive Director at the May 9, 2010 meeting of

    the ACCJ Board, and has held that position since that time.

           344.    Defendants deny the allegations set forth in Paragraph 344 of the Complaint.

           345.    Defendants deny the allegations set forth in Paragraph 345 of the Complaint.

           346.    Defendants deny the allegations set forth in Paragraph 346 of the Complaint.

           347.    Defendants deny the allegations set forth in Paragraph 347 of the Complaint, except

    admit that in 2013, the ACCJ Board approved the grant of $100,000 to Mesila International Inc.,

    an organization dedicated to help debt ridden indigent individuals restructure and improve their

    lives and a donation of $250,000 to the National Society of Hebrew Day Schools, an orthodox




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    Jewish organization that fosters and promotes Torah-based Jewish religious education in North

    America.

           348.    Defendants deny the allegations set forth in Paragraph 348 of the Complaint.

           349.    Defendants deny the allegations set forth in Paragraph 349 of the Complaint.

           350.    Defendants deny the allegations set forth in Paragraph 350 of the Complaint.

           351.    Defendants deny the allegations set forth in Paragraph 351 of the Complaint.

           352.    Defendants deny the allegations set forth in Paragraph 352 of the Complaint.

           353.    Defendants deny the allegations set forth in Paragraph 353 of the Complaint.

           354.    Defendants hereby incorporate their responses contained in the previously

    numbered paragraphs as if set forth fully herein.

           355.    Defendants deny the allegations set forth in Paragraph 355 of the Complaint.

           356.    Defendants deny the allegations set forth in Paragraph 356 of the Complaint.

           357.    Defendants deny the allegations set forth in Paragraph 357 of the Complaint.

           358.    Defendants neither admit nor deny the allegations set forth in Paragraph 358 of the

    Complaint because they involve questions of law.

           359.    Defendants deny the allegations set forth in Paragraph 359 of the Complaint.

                        AS AND FOR A FIRST AFFIRMATIVE DEFENSE

                                 LACK OF CAPACITY/STANDING

           360.    Plaintiff lacks the capacity and standing to bring any of his causes of action because

    he is not a member, director or officer of the ACCJ.

                       AS AND FOR A SECOND AFFIRMATIVE DEFENSE

                                   STATUTES OF LIMITATIONS




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           361.       Plaintiff’s causes of action are barred, in whole or in part, by the applicable Statutes

    of Limitations.

                           AS AND FOR A THIRD AFFIRMATIVE DEFENSE

                               FAILURE TO STATE A CAUSE OF ACTION

           362.       Each of Plaintiff’s claims is barred, in whole or in part, for failure to state a cause

    of action. For each of Plaintiff’s claims, he fails to plead facts necessary to establish a cause of

    action under applicable law.

           363.       Without limitation, Plaintiff’s first, second, third, fifth, and sixth causes of action

    fail to plead that Defendants owed a fiduciary duty to the ACCJ at relevant times; each of

    Plaintiff’s claims fails to plead that Defendants acted wrongfully or contrary to applicable law;

    Plaintiff fails to state any cause of action against defendant Jed Perr because he pleads only that

    Jed Perr was a de facto officer of the ACCJ; and Plaintiff fails to state a cause of action for a

    common law accounting because he has not alleged any need for an accounting or that Defendants

    personally received or possess any relevant funds, among other failures to plead adequate facts

    under applicable law.




                          AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

                                                    LACHES

           364.       Each of Plaintiff’s causes of action are barred by the doctrine of laches. Each of

    Plaintiff’s causes of action is in equity. On information and belief, Plaintiff had knowledge of the

    facts upon which he bases his causes of action for over a year and, in some cases, over seven years.




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    He delayed in asserting these causes of action without reason or excuse. The ACCJ and individual

    defendants have been prejudiced and disadvantaged by this delay: inter alia, they have conducted

    business that might be unwound if Plaintiff’s causes of action prevailed, and, on information and

    belief, evidence has been lost during Plaintiff’s delay.

                          AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

                                             RATIFICATION

              365.   Each of Plaintiff’s causes of action are based on actions he alleges the ACCJ and

    individual defendants took at times when Plaintiff claims to have been a director or officer of the

    ACCJ. Plaintiff promoted, approved, acquiesced, or otherwise ratified such actions.

                          AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

                                           UNCLEAN HANDS

              366.   Plaintiff’s fourth cause of action regards ACCJ responses to an IRS request for

    information. Plaintiff was heavily involved in the preparation and review of those responses.

    Insofar as the ACCJ was injured by such contributions, Plaintiff was complicit in such injuries,

    barring this cause of action.

              367.   Plaintiff’s seventh, eighth, and ninth causes of actions regard charitable

    contributions of a type that Plaintiff promoted to the Board of Directors. Insofar as the ACCJ was

    injured by such contributions, Plaintiff was complicit in such injuries, barring these causes of

    action.




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                        AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

                                     BUSINESS JUDGMENT RULE

              368.   Each of Plaintiff’s causes of action concern ACCJ actions approved by a

    disinterested and informed Board of Directors acting in good faith. Each claim is thus barred by

    the business judgment rule.

                        AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

                                       WAIVER AND ESTOPPEL

              369.   Plaintiff has waived his right to assert that the ACCJ is a membership corporation.

    In April 1999, the ACCJ filed an amendment to its Certificate of Incorporation with the New York

    Department of State, in which Plaintiff unequivocally and affirmatively attested that “there is no

    membership.” Certificate of Amendment to Certificate of Incorporation, dated April 1999.

                          AS AND FOR A NINTH AFFIRMATIVE DEFENSE

                              LACK OF REPRESENTATIVE CAPACITY

              370.    Plaintiff is not a proper representative of the ACCJ to bring the claims asserted

    herein.

                                      RESERVATION OF RIGHTS

              371.   Defendants reserve the right to expand the scope of these defenses and assert

    additional defenses based on facts learned in discovery.




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                                          COUNTERCLAIMS

            1.     Defendants and Counterclaim-Plaintiffs Eliezer Perr, Jedidiah Perr, and Milton

    Pollack (“Counterclaim Plaintiffs”) seek to recover damages for numerous defamatory statements

    made by Michael Engelberg concerning Counterclaim Plaintiffs.

            2.     Relying upon willful and deliberate misrepresentations, in his Complaint,

    Engelberg attempts to paint a picture of the American Center for Civil Justice, Inc. (“ACCJ”) and

    the activities of the individual defendants that Engelberg knows could not be farther from the truth.

    This action is Engelberg’s last ditch, desperate attempt to wrest control over millions of charity

    dollars so that he can divert that money to himself as “executive compensation,” as he has done

    for over a decade while running another organization, the New York Center for Civil Justice,

    Tolerance & Values, Inc. (“NYCCJ”), all by himself with absolutely no board oversight. Indeed,

    for more than a decade, Engelberg improperly paid himself more than $2 million from the charity

    funds he controlled.

            3.     After years of improperly paying himself excessive salaries, Engelberg realized that

    the well of charity funds at the NYCCJ would soon run dry. And so, for more than two years,

    Engelberg has tried to get his hands on the charity funds of the ACCJ and American Center for

    Civil Justice Religious Liberty & Tolerance Inc. (the “New Jersey Center”), the organization that

    the ACCJ had contracted with to obtain collections on behalf of judgment claimants. Hence, this

    litigation.

            4.     To obtain control of the ACCJ, Engelberg brings this action which relies on the

    scurrilous assertion that the last 20 years of corporate activity of the ACCJ are fraudulent and

    should be ignored, and that the last 20 years of the activities of the ACCJ’s board of directors (the

    “Board”), which Engelberg had been a member of at various times, are invalid. Instead, according




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    to Engelberg, corporate control of the ACCJ is maintained by three “members,” Engelberg, Eliezer

    Perr and Milton Pollack, notwithstanding that since at least April 1999, the ACCJ has not acted as

    a membership organization and filed numerous documents, passed bylaws and issued board

    minutes confirming that the ACCJ was a non-membership corporation. Of course, the Complaint

    then alleges that the membership of Perr and Pollack should be revoked leaving Engelberg in sole

    control of the ACCJ and, more importantly, its charity funds – the real motivation for this lawsuit.

    Although Engelberg provided sworn testimony in another action that he was an unpaid “volunteer”

    of the ACCJ for the last 13 years, once in control, he would be free to pay himself excessive

    salaries and pension benefits without Board approval or oversight as he has done for the last 13

    years as the head of the NYCCJ as detailed below.

                A BRIEF SUMMARY OF THE ACCJ’S CORPORATE HISTORY
                            AND ONGOING ACTIVITIES

           5.      The ACCJ was founded as a 501(c)(3) charity in 1996. Engelberg was involved in

    helping found the ACCJ, joining with the ACCJ’s founder, Eliezer Perr, and others after having

    been unable or unwilling to sustain a medical practice. It was Eliezer Perr who had extensive

    experience in international and human rights, with deep contacts internationally in the law

    enforcement and intelligence communities. Engelberg, on the other hand, brought with him no

    such background or experience.

           6.      Although the original Certificate of Incorporation was silent as to the corporate

    structure, in April 1999, the ACCJ filed an amendment to the original Certificate of Incorporation

    confirming that the ACCJ was a non-membership corporation; this was corroborated and

    reinforced by another amendment in 2005. Corporate bylaws from 2007 and 2013 further confirm

    the ACCJ’s non-membership status. This corporate structure went undisputed for many years. No

    one affiliated with the charity, including Engelberg, challenged that structure. The ACCJ has never



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    operated as a membership organization. Moreover, Engelberg’s objections to the constituency of

    the Board are contradicted by his attendance at board meetings, his signature on board minutes,

    statements he made under oath and his knowledge of board action for years without objection.

           7.      For decades, the ACCJ has been advocating, very successfully, for victims of state-

    sponsored terrorism. This has been accomplished under the supervision of a dedicated board of

    directors, working with a small number of volunteers and salaried staff. The ACCJ, working in

    conjunction with attorneys it retained, has secured judgments totaling hundreds of millions of

    dollars on behalf of claimants who have signed agreements with the ACCJ (the “Claimant and

    Center Agreements”).

           8.      The ACCJ has also been involved in other matters on behalf of terror victims. For

    example, the ACCJ has been funding a federal lawsuit in Washington, DC on behalf of over 150

    victims and family members of the November 2009 terror attack at Ft. Hood, Texas. The ACCJ

    was instrumental in securing Congressional legislation that led to the awarding of Purple Hearts

    and Defense of Freedom medals to victims. In addition to being recognized for their valor and

    sacrifices, awarding the Purple Hearts provided much needed financial and medical benefits to the

    recipients.

                           The ACCJ’s Charitable Donations Were Fully In
                               Accord With Its Mission And The Law

           9.      Along with its advocacy and outreach on behalf of victims of terrorism, the ACCJ

    has since the first intake of monies contributed grants to educational institutions and other charities

    in furtherance of the ACCJ’s mission. Engelberg has been involved in the making of such grants

    and did not object to them until he realized that the money he has been using to pay himself

    excessive compensation at the NYCCJ would be running dry and he needed to obtain financial




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    control over the ACCJ or New Jersey Center to continue his excessive salary. As noted in the

    contemporaneously-drafted minutes of an August 23, 2010 ACCJ Board of Directors meeting:

           Dr. Engelberg countered that insomuch as Jewish schools have been targeted
           throughout the world, and Jewish children are a constant target of Muslim terrorism
           as well as other forms violence and persecution, grants be provided to schools that
           are open to the concept of security, and who are willing to implement some form
           of security on their grounds, beginning with schools in the Jewish centers of NYC
           ....

    New York law expressly recognizes the appropriateness of such donations by the ACCJ. The

    claims in Engelberg’s Complaint regarding charitable donations are not only pure hypocrisy, but

    disingenuous and revisionist history. Indeed, the NYCCJ, while spending the ACCJ’s money from

    the Stethem claims, donated to similar charities as well.

                        The Vital Collection Work Of The New Jersey Center

           10.     Similarly, Engelberg’s bogus claim that the New Jersey Center was improperly paid

    for its collections work on behalf of judgment claimants is a revisionist charade. Pursuant to a

    contract between the ACCJ and the New Jersey Center entered into on April 12, 2007, and further

    amended and ratified in 2013 (the “New Jersey Contract”), and approved in both instances by the

    ACCJ’s Board, the New Jersey Center undertook the responsibility of effectuating collections for

    judgment claimants on behalf of the ACCJ. Prior to entering into the New Jersey Contract, the

    ACCJ had undertaken virtually no steps to locate and seize Iranian assets. That work has now

    progressed on several fronts, including litigation in the U.S., the United Kingdom and Canada, and

    successful negotiations with the federal government regarding the satisfaction of the Iranian

    judgments.

           11.     Engelberg has acknowledged that he knew of the role of the New Jersey Center; it

    was not a secret. And he was in possession of the New Jersey Center’s formation documents as




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    early as December 2008, and, indeed, his NYCCJ donated thousands of dollars to the New Jersey

    Center. The New Jersey Center continues to this day to fulfill its obligations under the contract.

           12.     The allegations against Jed Perr and the New Jersey Center are refuted by facts of

    record, including Engelberg’s past admissions and his history of working with them on the very

    matters of which he now complains.

                 Another Blatant Misrepresentation: The American Recovery Center

           13.     Engelberg disingenuously makes claims about the incorporation of the American

    Recovery Center (“ARC”). However, Engelberg was fully aware of ARC’s intended purpose,

    which was not to benefit Jed Perr personally, but was to be owned by the New Jersey Center and

    used as a vehicle in collections work for non-ACCJ claimants. Engelberg was involved in the

    discussions concerning whether the formation of a separate entity was needed for those purposes.

    Engelberg is also fully aware that ARC never came to fruition and its status as an active company

    was revoked by New Jersey.

       INDISPUTABLE FACTS SHOW THAT IT WAS ENGELBERG WHO ENRICHED
           HIMSELF WITH MILLIONS OF DOLLARS OF CHARITABLE FUNDS

                           Engelberg Enriched Himself Through the ACCJ

           14.     From 2001-2003, Engelberg paid himself over $1.2 million. During the same

    period, no other ACCJ officer or director, including defendants Eliezer Perr and Milton Pollack,

    received any compensation. Moreover, Engelberg also enjoyed the use of a leased luxury car paid

    for by the ACCJ, as well as other perks.

              Engelberg’s Improper Conduct in Connection With The Stethem Funds

           15.     In or around July 1998, the Raoul Wallenberg Center For Civil Justice, Inc., the

    predecessor charity to the ACCJ, entered into an agreement with the family of Robert Dean

    Stethem, who was kidnapped and killed by terrorists, pursuant to which the ACCJ undertook to



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    support litigation against the perpetrators of the crime. DLA Piper was retained to prosecute the

    case. The ACCJ covered all expenses and paid significant legal fees.

           16.     Pursuant to the agreement, the Stethems pledged to give the ACCJ 20% of any

    recovery so that the ACCJ could continue its work. The litigation was indeed successful and the

    Stethems collected over $21,000,000. From that recovery, the ACCJ was entitled to approximately

    $4,300,000. Engelberg arranged for those funds to instead be diverted to his NYCCJ.

           17.     In attempting to establish the legitimacy of depositing the Stethem funds in his

    NYCCJ, Engelberg has pointed to a series of “Acknowledgment[s] of Charitable Contributions”

    provided by the NYCCJ to Stethem family members. This obviously does not legitimize the

    diversion. Each such Acknowledgement states that “No goods or services are provided in return

    for this contribution.” That representation was blatantly false and Engelberg knew it. He was well

    aware that the fees owed to the ACCJ and which he directed to his NYCCJ, were the direct result

    of services provided by the ACCJ. Engelberg’s actions are even more egregious considering that

    the Powers of Attorney for the Stethem family members were in his name (obtained while he was

    an employee of the ACCJ in conjunction with the Claimant and Center Agreements).

                 Engelberg’s Conduct In Connection With The ACCJ Pension Fund

           18.     In or around 2001, the ACCJ authorized the creation of the American Center for

    Civil Justice Defined Benefit Pension Plan.      Without informing the Board, Engelberg then

    established the pension plan with himself as the sole beneficiary, made himself the manager of the

    pension plan, and hired his wife’s company to manage its investments. Between 2001 and 2003,

    Engelberg wrote ACCJ checks totaling over $340,000 to the pension plan. For more than a decade

    he filed IRS Form 5500 without the permission or knowledge of the Board. At this and all other

    relevant times, he remained the pension plan’s sole beneficiary. In or around 2011, while a




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    Director of the ACCJ and without the knowledge of the rest of the Board, Engelberg unilaterally

    directed the dissolution of the pension plan and subsequent rollover of over $900,000 to his

    individual retirement account.

                  Engelberg Further Enriched Himself Through His Stewardship of
                        the NYCCJ, Which He Privatized For Personal Gain

           19.     Having received more than four million dollars of ACCJ funds (which left the

    ACCJ with virtually no assets), Engelberg illegally used most of those funds to enrich himself. It

    was not until recently that it became known that the primary activity of the NYCCJ was to line

    Engelberg’s pockets. The NYCCJ Form 990s reveal that after the infusion of the Stethem funds

    into the NYCCJ’s account, Engelberg’s compensation from the NYCCJ was almost $1.6 million

    from 2003-2013. Additionally, Engelberg established a pension fund from which he received more

    than $400,000. Thus, of the approximately $4,300,000 in Stethem feeswhich has been the

    primary source of NYCCJ fundingapproximately half of that went directly to Engelberg.

           20.     Engelberg’s filings with the IRS reveal that the largest single expenditure of the

    NYCCJ has been Engelberg’s compensation. Conspicuous by its absence is the reporting of any

    significant efforts to support or advocate on behalf of terror victims.

           21.     Indeed, his tax filings reveal no programmatic activity in furtherance of any

    mission. The NYCCJ also made charitable gifts, which even taken as a whole were significantly

    smaller than the compensation Engelberg paid himself. If he was so deeply committed to

    promoting the interests of victims of terror, he would have devoted much of his available resources

    to fighting for their interests. He did not. Instead, those resources went directly to his pockets.

    Engelberg has no business being reinstated at the ACCJ, or indeed, running any charity at all.

           22.     Moreover, individuals he had identified as NYCCJ board members confronted him

    with serious accusations, including that the charity was governed solely by him; that no board of


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    directors meetings had ever been called; and that drafts of the required IRS Form 990s had not

    been circulated to the board before filing. It was demanded that Engelberg explain how he could

    possibly justify taking large salaries without obtaining board approval. Engelberg did not, because

    he could not, provide any explanation for his unilateral and improper actions.

           23.     Recognizing that the NYCCJ board members were challenging Engelberg’s

    activities and realizing that the assets of the NYCCJ were almost exhausted, the allegations of the

    Complaint are intentional distortions calculated to seize control over the ACCJ’s charity funds.

    Ironically, the picture Engelberg attempts to paint of Defendants allegedly enriching themselves

    through misappropriation and self-dealing is a self-portrait. Engelberg’s pattern of behavior over

    the years establishes that he is singularly unfit to serve on any board, and is not someone who

    should be entrusted with running a charitable institution.

           24.     As detailed below, the Complaint brought by Engelberg is filled with numerous

    intentionally false and defamatory statements regarding Counterclaim Plaintiffs. Equally as

    egregious as Engelberg’s commencement of this spurious action is his conduct after commencing

    the action. Since the filing of this action, Engelberg set out on an extensive and malicious

    campaign to defame Counterclaim Plaintiffs by circulating the Complaint to newspapers,

    claimants with contracts with the ACCJ, ACCJ board members, and attorneys who work with the

    Counterclaim Plaintiffs, among others.

           25.     Engelberg has attempted to dissuade others from working with Counterclaim

    Plaintiffs and terminate relationships with them. Engelberg’s campaign has caused irreparable

    damage to the reputation and business of Counterclaim Plaintiffs.

                        Defamatory Statements of Engelberg in the Complaint
                                Regarding Counterclaim Plaintiffs




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           26.       The Complaint in this action, which as set forth below has been circulated by

    Engelberg to newspapers and others as described below, contains hundreds of intentionally false

    statements about Counterclaim Plaintiffs.

           27.       An outline of the hundreds of defamatory statements contained in the Complaint

    are excerpted below from the “Nature of the Case.” Thus, Engelberg intentionally misrepresents

    that Eliezer Perr and Jedidiah Perr:

                    “privatiz[ed]” the ACCJ and “used their respective positions of authority as
                     officers and directors to siphon off, both directly and indirectly, over $20 million
                     dollars of charitable funds to other shell for-profit and not-for-profit entities,
                     owned and controlled by them” (Nature of the Case);

                    “used ACCJ funds for private gain and caused ACCJ to violate the Internal
                     Revenue Code's (the ‘IRC’) ban on private inurement [and] essentially have treated
                     the ACCJ as their own personal piggy bank, donating over $800,000 to various
                     Jewish religious and educational organizations entirely unrelated to, and beyond
                     the scope of the Center's charitable mission” (Nature of the Case);

                    “unlawfully” transferred $2.5 million dollars of settlement proceeds to the New
                     Jersey Center;") (Nature of the Case);

                    used their positions at the ACCJ to establish the American Recovery Center,
                     LLC,” to “ usurp business opportunities” of the ACCJ by making
                     “misrepresentations” that “the ACCJ and ARC were somehow related to each
                     other” and thereby “agreements were entered into with third parties, in which
                     ARC, rather than the ACCJ, was retained as the consultant to assist with
                     collection efforts for service fees potentially worth a minimum of $18 million”
                     (Nature of the Case);

                    “fabricated documents post hoc, including Board minutes”;

                    “provid[ed] false and misleading information to the Internal Revenue Service”
                     (Nature of the Case);

                    “ousted the Plaintiff from the organization, falsely claiming that he was no
                     longer a representative, Board Member or the Executive Director of the Center”
                     (Nature of the Case); and

                    “fraudulently induced and sought to coerce claimants into signing new
                     agreements with the ACCJ that would provide for additional fees to private


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                      persons and/or entities, including Jed Perr’s                 ARC,      as   ‘other
                      professionals/personnel.’” (Nature of the Case).

            28.       There are numerous, additional intentionally false categories of defamatory

    statements made by Engelberg in the Complaint. A few of the additional defamatory statements

    are that:

                     the “Perrs” never reported receipt of certain funds on the ACCJ’s form 990 for 2009
                      (¶ 95);

                     the May 28, 2014 Agreement improperly “increased the fees to attorneys and other
                      personnel to 36%” (¶ 162);

                     the May 9, 2010 Board minutes “were fabricated and demonstrably false” (¶ 169);

                     the Heiser claimants were “fraudulently induced into signing this new agreement
                      under the misimpression that Dr. Engelberg sanctioned it as their attorney-in-fact”
                      (¶ 188);

                     the Brewer plaintiffs were provided with an agreement with the New Jersey Center,
                      which was an “attempt by the Perrs to create confusion and divert funds to an antity
                      with a similar name to the ACCJ” and the filing by the ACCJ “as a foreign
                      corporation registered to do business in New Jersey [was] a veiled attempt to cover
                      up this obvious deception” (¶ 189);

                     the Perrs “were willing to lie and compromise the claims of the remaining Non-
                      Heiser clamants unless they signed the May 28, 2014 Agreement” (¶ 210);

                     Jed Perr lied to claimants when he wrote to claimants and “misrepresented that
                      ‘[a]lthough under the previously signed agreements there is a 20% fee for
                      collections, and 20% fee for litigation, we will be deducting only 36% which will
                      cover all attorney fees and other expenses.’” (¶ 211);

                     the Board of the ACCJ was not properly constituted and “unlawfully” voted to
                      replace him on the Board (¶ 217);

                     the Perrs have improperly used the ACCJ’s resources to fund organizations “most
                      of which they have personal and financial ties” (¶ 222);

                     Rabbi Perr and Milton Pollack “fabricate[d] documents and provide[d] misleading
                      information to the IRS in an attempt[ed] . . . cover-up” (¶¶ 239, 289);

                     the Perrs “misappropriated the charitable assets and property of the ACCJ for their
                      own personal benefit and/or the benefit of relatives and insiders” (¶ 255);


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                    the “April 12, 2007 Agreement was not authorized by the Board, and was in fact, a
                     complete fabrication” (¶ 272); and

                    “Jed Perr used his position at the ACCJ to misrepresent the relationship between
                     the ACCJ and ARC to usurp business opportunities for ARC, which he personally
                     owns, constituting self-dealing and private inurement and unjust enriched himself
                     at the Center’s expense” (¶ 315).

           29.       Engelberg knew that every single one of these allegations (and many more) which

    are repeated throughout the Complaint was false.

           30.       For example, Engelberg was fully aware that the ACCJ’s charitable donations to

    private schools and organizations were fully in compliance with the agreements with claimants,

    its mission and the law. From the very beginning of its intake of fees, the ACCJ and Engelberg

    contributed grants to educational institutions and other charities as part of the ACCJ’s mission.

    Engelberg was involved in the making of such grants and did not object to them until he realized

    that the money he has been using to pay himself excessive compensation at the NYCCJ would be

    running dry and he needed to obtain financial control over the ACCJ or New Jersey Center to

    continue his excessive salary. As noted in the contemporaneously-drafted minutes of an August

    23, 2010 ACCJ Board of Directors meeting:

           Dr. Engelberg countered that insomuch as Jewish schools have been targeted
           throughout the world, and Jewish children are a constant target of Muslim terrorism
           as well as other forms violence and persecution, grants be provided to schools that
           are open to the concept of security, and who are willing to implement some form
           of security on their grounds, beginning with schools in the Jewish centers of NYC.

           31.       Indeed, upon receiving more than $4 million that represented the fee owed to the

    ACCJ from the Stethems, Engelberg made donations to the same private schools and charities

    about which he accuses the Counterclaim Plaintiffs of making improper donations including

    schools attended by his own children.




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           32.     Similarly, Engelberg was fully aware of ARC’s intended purpose, which was not

    to benefit Jed Perr personally, but was to be used as a vehicle in collections work for non-ACCJ

    claimants. Engelberg participated in the discussions concerning whether the formation of a

    separate entity owned to be owned by the New Jersey Center was needed for those purposes.

    Engelberg is also fully aware that ARC never operated as a business or entered into any agreements

    and was and is an inactive company.

           33.     Engelberg was also fully aware that the New Jersey Center was active in collections

    work on behalf of the ACCJ’s claimants when the ACCJ had not been particularly successful to

    locate and seize Iranian assets. Engelberg routinely referred individuals to the New Jersey Center

    and Jed Perr regarding collections questions. Engelberg was aware of the existence of the New

    Jersey Center and had made donations to the New Jersey Center to support its work.

           34.     Engelberg’s claim that the agreement between the ACCJ and the New Jersey Center

    was fabricated and not approved by the Board was also intentionally false. Engelberg claims that

    he was on the Board in 2007 so the agreement and Board approval must have been fabricated.

    However, in another action, Engelberg testified that during the same time frame, he was not a

    Board member or officer and any work that he performed for the ACCJ at that time was on a

    “voluntary” basis. He also signed Board minutes in 2010 indicating that he was “returning” to the

    Board. His repeated claims of fabricated Board minutes and agreements were knowingly false.

    Engelberg was also fully aware that the collections work of the New Jersey Center had progressed

    on several fronts, including litigation in the U.S., the United Kingdom and Canada, and serious

    negotiations with the federal government regarding the satisfaction of the Iranian judgments.

           35.     Engelberg was also fully aware that he used ACCJ funds to improperly enrich

    himself, not Counterclaim Plaintiffs. Without board knowledge or approval, Engelberg used




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    almost half of the millions of dollars that the NYCCJ received in connection with the ACCJ’s

    recovery for the Stethem family to pay himself salary and pension contributions.           Indeed,

    Engelberg’s filings with the IRS reveal that the largest single expenditure of the NYCCJ has been

    Engelberg’s compensation. Conspicuous by its absence is the reporting of any significant efforts

    to support or advocate on behalf of terror victims. The NYCCJ had no programmatic activity, yet

    Engelberg paid himself more than $2 million.

            36.    The allegations of the Complaint were intentional distortions calculated to seize

    control over the ACCJ’s charity funds. Ironically, the picture Engelberg attempts to paint of

    Defendants allegedly enriching themselves through misappropriation and self-dealing is a self-

    portrait. Engelberg’s pattern of behavior over the years establishes that he is singularly unfit to

    serve on any board, and is not someone who should be entrusted with running a charitable

    institution.

                       Engelberg’s False Oral Statements to Heiser Creditors

            37.    On or around May 28, 2014, the ACCJ sent a letter to a certain group of judgment

    creditors (the “Non-Heiser Judgment Creditors”) advising them of claims filed on their behalf in

    Canada and requesting that they execute an updated Claimant and Center Agreement with the

    ACCJ (the “May 28, 2014 Letter”).

            38.    This updated Claimant and Center Agreement contained a provision stating that

    “Claimant agrees and accepts that the Claimant shall be obligated to pay up to 36% of All

    Recoveries.”

            39.    Under the previous agreements between the ACCJ and the Non-Heiser Judgment

    Creditors, the Non-Heiser Judgment Creditors agreed to pay up to 20% of their total recovery for




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    legal and collection fees and 20% of the remaining 80% of the recovery—i.e., 16% of the total

    recovery—would go to the ACCJ for its efforts.

            40.         Thus, at the time of the May 28, 2014 Letter, the Non-Heiser Judgment Creditors

    were obligated under other agreements to pay up to 36% of their recoveries.

            41.         As such, the updated Claimant and Center Agreement clarified this obligation, but

    did not alter it.

            42.         On July 23, 2014, ACCJ counsel sent a letter explaining to Engelberg that the

    updated Claimant and Center Agreement did not alter previous payment obligations of the Non-

    Heiser Judgment Creditors.

            43.         However, on information and belief, Engelberg was aware at the time of the sending

    of the May 28, 2014 Letter that the Non-Heiser Judgment Creditors were obligated to pay up to

    36% of their recoveries under previous agreements, and therefore Engelberg was aware that the

    updated Claimant and Center Agreement did not alter this obligation.

            44.         Nonetheless, upon information and belief, between June 2014 and at least

    September 18, 2014, Engelberg falsely and in bad faith told Non-Heiser Judgment Creditors that

    the Counterclaim Plaintiffs and the ACCJ were using the updated Claimant and Center Agreement

    to deceive the Non-Heiser Judgment Creditors into increasing their payment obligations to the

    ACCJ.

            45.         By making such false statements to third parties about the Counterclaim Plaintiffs

    that would tend to injure Counterclaim Plaintiffs in their business with the ACCJ and the New

    Jersey Center, Engelberg defamed the ACCJ per se.

                              The Complaint is Widely Circulated by Engelberg




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           46.     After the action was commenced, on or about January 1, 2015, Engelberg circulated

    the Complaint containing the false and defamatory statements detailed above to newspapers

    including the Forward. Relying on the false statements in the Complaint and an interview with

    Engelberg, the Forward stated that Counterclaim Plaintiffs blatantly abused their authority, moved

    $20 million to other groups controlled by Counterclaim Plaintiffs, lied to the IRS, used the ACCJ

    as their own personal piggy bank to distribute charity funds to Orthodox yeshivas, improperly

    formed the New Jersey Center and ARC, lied to claimants and diverted $18 million from the ACCJ,

    and fabricated Board minutes and the agreement with the New Jersey Center concerning

    collections work, among other things.

           47.     On or about January 9, 2016, the Complaint which Engelberg knew contained the

    numerous defamatory statements detailed above, was sent by Engelberg to Reed Rubinstein, an

    attorney with whom the ACCJ worked and who represents a group of claimants with contract with

    the ACCJ.

           48.     On or about January 12, 2016, the Complaint was also sent by Engelberg to Lourdes

    Morera, an attorney that worked with the ACCJ in Puerto Rico.

           49.     Engelberg also circulated the Complaint directly to various claimants who have

    contract with the ACCJ.




                              AS AND FOR A FIRST COUNTERCLAIM
                                     (DEFAMATION/LIBEL)

           50.     Counterclaims Plaintiffs repeat and reallege the allegations in the preceding

    paragraphs as if fully set forth below.




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            51.     The written statements of fact in the Complaint described above (“Written

    Statements”) were false.

            52.     Engelberg’s ’ Written Statements in the Complaint were published to third parties,

    including the Forward, Reed Rubinstein, Lourdes Morera, and various claimants, and not

    privileged in any manner.

            53.     Engelberg’s Written Statements were made with the knowledge that they were

    untrue, or at least with reckless disregard of their truth or falsity, reckless disregard of their truth

    or falsity and/or with malice.

            54.     Engelberg’s Written Statements were libelous and harmful because they contain

    allegations directly injurious to Counterclaim Plaintiffs’ business in connection with the ACCj and

    New Jersey Center.

            55.     Engelberg’s Written Statements improperly accuse Counterclaim Plaintiffs of

    criminal activity and lack of integrity for Counterclaim Plaintiffs’ business.

            56.     By reason of the conduct of Engelberg, Counterclaim Plaintiffs have been damaged

    in an amount to be determined but in no event less than $10,000,000.

            57.     By reason of Engelbergs’ malicious actions against Level, Counterclaim Plaintiffs

    are also entitled to punitive damages in an amount to be determined at trial.

                             AS AND FOR A SECOND COUNTERCLAIM
                                          (SLANDER)

            58.     Counterclaim Plaintiffs repeat and reallege the facts and allegations contained in

    the preceding paragraphs as if fully set forth herein.

            59.     The oral statements of fact concerning Counterclaim Plaintiffs described above

    (“Oral Statements”) were false.




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             60.    Engelberg’s Oral Statements were published to third parties, including the Forward,

    Reed Rubinstein, Lourdes Morera, and various claimants, and not privileged in any manner.

             61.    Engelberg’s Oral Statements were made with the knowledge that they were untrue,

    or at least with reckless disregard of their truth or falsity, reckless disregard of their truth or falsity

    and/or with malice.

             62.    Engelberg’s Oral Statements were slanderous per se because they contain

    allegations directly injurious to Counterclaim Plaintiffs’ business in connection with the ACCJ

    and New Jersey Center.

             63.    Engelberg’s Oral Statements improperly accuse Counterclaim Plaintiffs of criminal

    activity and lack of integrity for Counterclaim Plaintiffs’ business.

             64.    By reason of the conduct of Engelberg, Counterclaim Plaintiffs have been damaged

    in an amount to be determined but in no event less than $10,000,000.

             65.    By reason of Engelbergs’ malicious actions against Counterclaim Plaintiffs,

    Counterclaim Plaintiffs are also entitled to punitive damages in an amount to be determined at

    trial.

                             AS AND FOR A THIRD COUNTERCLAIM
                          (COMMON LAW BREACH OF FIDUCIARY DUTY)

             66.    Counterclaim Plaintiffs repeat and reallege the facts and allegations contained in

    the preceding paragraphs as if fully set forth herein.

             67.    Between May 9, 2010, and September 18, 2014, Engelberg was a director of the

    ACCJ.

             68.    As such, at all relevant times, Engelberg owed Eliezer Perr and Pollack fiduciary

    duties of care, loyalty, and obedience.




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           69.    By defaming Eliezer Perr and Pollack and the ACCJ per se, Engelberg breached

    his fiduciary duties to defendants Eliezer Perr and Pollack and N.Y. N-PCL § 717.

           70.    Therefore, Eliezer Perr and Pollack are entitled to a judgment against Engelberg for

    damages in an amount to be determined at trial.

                   AS AND FOR A FOURTH COUNTERCLAIM
               NEW YORK CIVIL PRACTICE LAW AND RULES § 3001
       (DECLARATORY JUDGMENT THAT MICHAEL ENGELBERG IS NEITHER A
                   MEMBER NOR DIRECTOR OF THE ACCJ)

           71.    In his Complaint in this proceeding, Engelberg asserts that he is a member and

    director of the ACCJ.

           72.    Engelberg is not, however, a member of the ACCJ.

           73.    The ACCJ was not incorporated as, and has never operated as, a membership

    corporation, and therefore the ACCJ has never had any members within the meaning of N.Y. N-

    PCL § 601.

           74.    He is now time-barred from asserting any alleged member status.

           75.    Engelberg never paid any membership dues, as would be required for him to be a

    member.

           76.    Engelberg did not sign the ACCJ’s Certificate of Incorporation, and was not issued

    a membership card or capital certificate evidencing any membership. And nowhere in the Bylaws

    is Engelberg designated as a member.

           77.    In 2007 the Bylaws were amended. The amended bylaws state that:

           In accord with the Not-for-Profit Corporation Law of the State of New York,
           §601(a), ACCJ shall have no members.

    Compl. Ex. 28 (2007 Amended Bylaws (emphasis added)).

           78.    In September 2013, the bylaws were once again amended, and stated the “ACCJ

    shall have no members.” 2013 Amended Bylaws of ACCJ.


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           79.    In the alternative, if the ACCJ was incorporated as a membership corporation, the

    two purported members—Engelberg and Eliezer Perr—revoked or dissolved any such

    membership at least by April of 1999.

           80.    In April 1999, the ACCJ filed an amendment to its Certificate of Incorporation with

    the New York Department of State, in which Engelberg and Eliezer Perr attested that “there is no

    membership.” Certificate of Amendment to Certificate of Incorporation, dated April 1999.

           81.    In addition, Engelberg is not a director of the ACCJ.

           82.    At a meeting of the Board of Directors of the ACCJ on September 18, 2014, a

    quorum of the directors voted to replace Engelberg as a director in accordance with the ACCJ’s

    Bylaws.

           83.    Engelberg has not since been reelected to the Board of Directors of the ACCJ.

           84.    Therefore, Engelberg is not a member or director of the ACCJ as he purports in his

    Complaint.

           85.    By reason of the foregoing, an actual and justiciable controversy exists between the

    Counterclaim Plaintffs, the ACCJ and Engelberg. Therefore, Counterclaim Plaintiffs seek a

    declaratory judgment that Engelberg is not a member or director of the ACCJ.

           WHEREFORE, Counterclaim Plaintiffs pray that the Court enter judgment as follows:

           A.     Awarding them compensatory damages as against Engelberg, in an amount to be

                  determined at trial, but in no event less than $10,000,000 for the first, second and

                  third counterclaims;

           B.     Awarding them special compensatory damages as against Engelberg, in an amount

                  to be determined at trial;




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           C.    Awarding them punitive and exemplary damages as against Engelberg, in an

                 amount to be determined at trial;

           D.    Issuing an order declaring that Engelberg is not a member or director of the ACCJ;

           E.    Awarding them on each cause of action all costs and attorneys’ fees incurred in

                 commencing and prosecuting this action;

           F.    Dismissing the Complaint in its entirety with prejudice;

           G.    Awarding them pre-judgment and post-judgment interest at the legal rate; and

           H.    Awarding them such other and further relief as to this Court deems just and proper.



    Dated: March 16, 2016                      Respectfully submitted,

                                               KOFFSKY SCHWALB LLC

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